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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



 STATE OF NEW JERSEY,

            Plaintiff,

                v.

 UNITED STATES DEPARTMENT OF
                                                     Before: Leo M. Gordon, Judge
 TRANSPORTATION, et al.,
                                                     Court No. 2:23-cv-03885
            Defendants,

               and

 METROPOLITAN TRANSPORTATION
 AUTHORITY, et al.,

            Defendant-Intervenors.


                                         OPINION

 [FHWA’s determinations affirmed in part; remanded in part.]

                                                               Dated: December 30, 2024

       Randy M. Mastro and Lauren Myers, King & Spalding LLP, of New York, NY,
 argued for Plaintiff State of New Jersey. With them on the brief were Craig Carpenito,
 Jessica Benvenisty, Peter Hsiao, and Cynthia AM Stroman.

         Gregory M. Cumming and Shari Howard, Trial Attorneys, Environment & Natural
 Resources Division, U.S. Department of Justice of Washington, DC, for argued Defendant
 United States. With them on the briefs was Samantha G. Peltz, Trial Attorney,
 Environment & Natural Resources Division, U.S. Department of Justice, and Alex D.
 Silagi, Assistant United States Attorney, District of New Jersey, United States Attorney’s
 Office of Newark, NJ.

        Mark A. Chertok and Elizabeth Knauer, Sive, Paget & Riesel, P.C.,
 of New York, NY, argued for Defendant-Intervenors the Metropolitan Transportation
 Authority and the Triborough Bridge and Tunnel Authority. With them on the briefs were
 Daniel Chorost and John F. Nelson, Sive, Paget & Riesel, P.C., and Roberta A. Kaplan,
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 Gabrielle E. Tenzer, Joshua A. Matz, and Kate Harris of Kaplan Martin LLP, of New York,
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        Andrew D. Otis, Kramer Levin Naftalis & Frankel LLP, of New York, NY, argued
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 Tri-State Transportation Campaign, Riders Alliance, Open Plans, Real Estate Board of
 New York, New York Lawyers for the Public Interest, We Act for Environmental Justice,
 Streetspac, Transportation Alternatives, and New York Public Interest Research Ground
 Fund. With him on the brief were Nathan Schwartzberg, Karen Steinberg Kennedy, and
 Charles S. Warren, McLaughlin & Stern, LLP of New York, NY.

       Bruce H. Nagel and Randee M. Matloff, Nagel Rice, LLP, of Roseland, NJ, argued
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 Employees, Clean Water Action, Turnpike Trap Coalition, Hudson Country Complete
 Street, Soma Action, Unitarian Universalist Faith Action NJ, Pinelands Preservation
 Alliance, Bike North Bergen, Ecopoetry.org, Don’t Gas The Meadowlands, Isles, Inc.,
 Bike JC, SafestreetSJC, 350NJ-Rockland, Hackensack Riverkeeper, People Over
 Pipelines, Fund for a Better Waterfront, Newark Green Team, Action Together New
 Jersey, New Jersey Association of Railroad Passengers, BluewaveNJ, Bike Soma,
 Newark Science and Sustainability Inc., Our Revolution NJ, BICI UC, Friends of Liberty
 State Park, New Jersey Environmental Lobby, New Jersey Work Environment Council,
 New Jersey Citizen Action, South Ward Environmental Alliance, New Jersey Working
 Family Party, and Bike Hoboken.

       Gordon, 1 Judge: Disputes over charges, fees, tolls, taxes for, or other regulation

 of transit entering New York from New Jersey trace back prior to the founding of the

 country, and were “a central issue in the debate over the Constitution.” See Tax Quarrels

 Among States Go Back a Long Way, States News Service, May 7, 1989,

 https://www.nytimes.com/1989/05/07/nyregion/tax-quarrels-among-states-go-back-a-



 1 The Honorable Leo M. Gordon, Judge of the United States Court of International Trade,
 sitting by designation.
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 long-way; see also The Federalist No. 7 at 37–38 (Alexander Hamilton) (Robert Scigliano

 ed. 2001) (“The opportunities which some States would have of rendering others tributary

 to them by commercial regulations would be impatiently submitted to by the tributary

 States. The relative situation of New York, Connecticut, and New Jersey would afford an

 example of this kind. New York, from the necessities of revenue, must lay duties on her

 importations. A great part of these duties must be paid by the inhabitants of the two other

 States in the capacity of consumers of what we import. New York would neither be willing

 nor able to forego this advantage. Her citizens would not consent that a duty paid by

 them should be remitted in favor of the citizens of her neighbors.... Would Connecticut

 and New Jersey long submit to be taxed by New York for her exclusive benefit?”). These

 disputes have taken many forms and were fought by governors, state legislatures,

 Congress, and in the courts. See, e.g., Gibbons v. Ogden, 22 U.S. 1 (1824) (dispute over

 right to navigate waters between New Jersey and New York). In the late 20th century,

 the sparring involved New Jersey commuters paying New York City income taxes on

 moneys earned elsewhere. See City of New York v. State of New York, 94 N.Y.2d 577

 (2000) (suit challenging constitutionality of limiting the then–existing New York City

 commuter tax to only out-of-state residents working in New York City).

       Fast forward to today and this long-running saga now involves the Metropolitan

 Transportation Authority (“MTA”) and its affiliate, the Triborough Bridge and Tunnel

 Authority (“TBTA”), proposing a program to impose tolls on vehicles entering the Central

 Business District (“CBD”) of Manhattan (the “Program” or “Project”) that directly impacts

 commuters from New Jersey among others. See Am. Compl., ECF No. 139. In this
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 action, Plaintiff, the State of New Jersey, challenges the final determinations by the

 U.S. Department of Transportation’s (“DOT”) Federal Highway Administration (“FHWA”)

 regarding the environmental review process under the National Environmental Policy Act,

 42 U.S.C. §§ 4321 et seq. (2018) (“NEPA”) and the Clean Air Act, 42 U.S.C. §§ 7401

 et seq. (2018) (“CAA”) for the establishment of the Program. 2 Id. Plaintiff seeks relief in

 the form of an order vacating the FHWA’s Final Environmental Assessment (“EA”) and

 Final Finding of No Significant Impact (“FONSI”) and requiring the FHWA to prepare an

 Environmental Impact Statement (“EIS”). See generally Am. Compl.

        Before the court are cross-motions for summary judgment pursuant to Federal

 Rule of Civil Procedure 56 filed by Plaintiff and Federal Defendants, as well as

 Defendant-Intervenors, the MTA and TBTA. See Pl.’s Mot. for Summ. J., ECF No. 136

 (“Pl.’s Mot.”); see also Fed. Defs.’ Cross-Mot. for Summ. J. and Opp’n to Pl.’s Mot., ECF

 No. 129 (“Fed. Defs.’ Cross-Mot.”); Def.-Intervenors’ Cross-Mot. for Summ. J. and Opp’n

 to Pl.’s Mot., ECF No. 127 (“Def.-Intervenors’ Cross-Mot.”); Pl.’s Opp’n to Defs.’

 Cross-Mots., ECF No. 86 (“Pl.’s Resp.”); Fed. Defs.’ Reply in Supp. of Cross-Mot., ECF

 No. 130 (“Fed. Defs.’ Reply”); Def.-Intervenors’ Reply in Supp. of Cross-Mot. for Summ.

 J., ECF No. 128 (“Def.-Intervenors’ Reply”). 3 The court held oral argument on the parties’



 2  The court notes that NEPA was amended in June 2023.                    See 42 U.S.C.
 § 4336a(a)(2)(B), (D) (2018 & Supp. V 2024). Because the date of enactment of these
 provisions fell after the issuance of the Final EA, the court applies only the prior NEPA
 provisions.
 3 The parties submitted revised briefs to reflect citations to a condensed administrative

 record that is contained in the Joint Appendix, ECF No. 123. The ECF Numbers for those
 (footnote continued)
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 cross-motions. See Transcripts of Oral Arg., (Apr. 3 & 4, 2024), ECF Nos. 153 (“1st Tr.”)

 & 154 (“2d Tr.”).

        The court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1346 (2018). For the

 reasons set forth below, the court affirms the FHWA’s determinations in part and remands

 in part.

                                       I. Background

        Traffic congestion has long plagued the New York metropolitan area that includes

 New York City, Long Island, Northern New Jersey, and certain counties in upstate New

 York and Southwestern Connecticut. That congestion has an adverse economic impact,

 with a typical motorist experiencing 102 hours of lost time with a cost of nearly $1,595 per

 driver per year in the region. See DOT_0036197; DOT_0036253 4; Nicholas McEntyre,

 NYC’s drivers spend a grueling 100 hours in traffic—here’s where the Big Apple ranks

 among the world’s most congested cities, New York Post (June 26, 2024, 4:40 am),

 https://nypost.com/2024/06/26/us-news/nyc-ranked-worlds-most-congested-city-again-

 inrix/. A 2018 study estimated that “traffic congestion [would] be a $100 billion drag” on

 the area economy over five years and identified the Manhattan CBD—home to a quarter

 of the region’s economic activity—as the primary locale of traffic congestion in the region.

 DOT_0036253; see also Partnership for New York City, $100 Billion Cost of Traffic




 revised briefs are reflected above, with the exception of Plaintiff’s Opposition to
 Defendants’ Cross-Motions, for which Plaintiff did not submit a revised brief.
 4Citations are to the condensed administrative record that is contained in the Joint
 Appendix, ECF No. 123, and appear as follows: DOT_xxxxxxx.
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 Congestion       in      Metro      New        York       (2018),      https://pfnyc.org/wp-

 content/uploads/2020/01/2018-01-Congestion-Pricing.pdf (last visited December 30,

 2024). Yet, despite multiple traffic reduction initiatives and the nation’s most extensive

 public transit network, New York City remains the most congested city in the country.

 DOT_0036196; DOT_0036242.

        For over 50 years, state and local officials, policy experts, and advocacy groups

 have studied various solutions to determine the most effective way to reduce traffic

 congestion in and around the CBD of Manhattan. DOT_0004513–22. In 2018, the New

 York State Legislature (“Legislature”) created the Metropolitan Transportation

 Sustainability Advisory Workgroup (“Workgroup”) that ultimately recommended the

 implementation of a tolling program for the CBD to reduce traffic congestion and generate

 revenue to repair, improve, and modernize the MTA’s regional public transit system.

 DOT_0004518.

        In April 2019, based on the Workgroup’s recommendations, the Legislature

 enacted the MTA Reform and Traffic Mobility Act (the “Act”), as part of the fiscal year 2020

 New York State budget. Id. The Act’s goals were to reduce CBD traffic congestion and

 to create a dedicated funding source for the MTA. DOT_0002407. The Act’s findings

 recognized that “[t]he ongoing failures of the tracks, signals, switches, electrical power,

 and other transportation infrastructure throughout the subway system in New York City

 continue to have a significant deleterious impact on the health, safety, and livelihood of

 commuters, tourists, resident New Yorkers, as well as business and commerce in the

 metropolitan commuter transportation district….” DOT_0004527.
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       Under the Act, the TBTA was charged with establishing the Program, and entering

 into a memorandum of understanding (“MOU”) with the New York City Department of

 Transportation (“NYCDOT”) to effectuate the Program. 5 DOT_0004529; DOT_0036243.

 The June 2019 MOU specified that the TBTA, NYCDOT, and the New York State

 Department of Transportation (“NYSDOT”) jointly would submit an application to the

 FHWA for any approval required by federal law. DOT_0004549; DOT_0004554–55. That

 same month, the TBTA, NYSDOT, and NYCDOT (collectively, the “Project Sponsors”)

 submitted to the FHWA an Expression of Interest for variable price tolling authority

 pursuant to the FHWA’s Value Pricing Pilot Program (“VPPP”). DOT_0038307–14.

       In March 2021, the FHWA determined that the proposed Program should be

 treated as a NEPA Class III action, meaning that the significance of the environmental

 impact of the Program was not clearly established. DOT_0036245; see also 23 C.F.R.

 § 771.115 (2018) (defining classes of actions in NEPA process). For these types of

 actions, the FHWA is required to prepare an EA to determine whether the proposed action

 is likely to have significant environmental effects. In conducting that assessment, if the

 FHWA finds a significant impact that is not amenable to mitigation, then the FHWA is




 5 Monies raised through the Program were to be deposited into a CBD tolling capital

 lockbox fund. These monies, after program expenses, were to be applied to the MTA’s
 capital projects included in the MTA’s 2020–2024 capital program or any successor
 program. Of the capital project costs to be paid by the fund, 80 percent were to be
 obligated to capital project costs of the MTA and its New York City-centric subsidiaries,
 with priority given to the New York City subway system. Ten percent were to be dedicated
 to the MTA-owned Long Island Railroad capital projects and ten percent to the
 MTA-owned Metro-North Commuter Railroad Company capital projects.
 DOT_0004535-37.
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 required to prepare an EIS. 40 C.F.R. §§ 1501.3(a)(2) & (3), 1501.5; see also 23 C.F.R.

 §§ 771.115(c) & 771.119(i) (2018). Alternatively, if the FHWA finds no significant impact,

 or if any predicted impacts will be mitigated to less than significant levels, the FHWA then

 may issue a FONSI. See 40 C.F.R. § 1501.6(a) & (c).

        During the next two years, the FHWA and Project Sponsors gathered information,

 engaged stakeholders, and analyzed data regarding traffic impact, air quality, and

 environmental justice issues. The FHWA, in consultation with the Project Sponsors,

 issued a Draft EA in August 2022.         DOT_0036154–55.        After considering public

 comments, the FHWA, in May 2023, issued the Final EA and Draft FONSI, determining

 that the proposed Program would not have a significant effect on air quality or

 environmental justice communities after mitigation. DOT_0036150–53; DOT_0036155;

 DOT_0040579–80.        Additionally, the Final EA in new Appendix 17E reflected

 a commitment from the Project Sponsors to a $155 million mitigation package over

 five years after implementation of the Program.       DOT_0007411–50; DOT_0036156,

 DOT_0036211–13; DOT_0037016–20. This package is intended to improve air quality

 and public health in those environmental justice communities that the FHWA identified as

 facing pre-existing burdens due to historic transportation and land use planning. Id. As a

 result of the mitigation commitments, the FHWA determined that the proposed Program

 would not have a disproportionately high and adverse effect on environmental justice

 communities. Id.

        After the issuance of the Draft FONSI, the FHWA considered additional

 submissions received during the review period (mid-May to mid-June 2023) but
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 determined that those submissions did not provide new information.                  Therefore,

 the FHWA determined that no changes to the Final EA were necessary. DOT_0000393.

 In late June 2023, the FHWA signed the Final FONSI. DOT_0000363. This litigation

 ensued. See Compl., ECF No. 1. However, the regulatory process continued with the

 adoption by the TBTA of a tolling structure (i.e., final tolling rates) recommended by the

 Traffic Mobility Review Board (“TMRB”), a new entity responsible for making a formal

 recommendation to the TBTA regarding the Program’s final tolling structure before the

 TBTA established the actual tolls. See Letter from Defendant-Intervenors, ECF No. 141

 (notifying court on March 28, 2024 that TBTA Board approved CBD toll rates previously

 recommended by TMRB on November 30, 2023); see also Congestion Pricing in New

 York: A toll structure recommendation from the Traffic Mobility Review Board (Nov. 2023),

 https://new.mta.info/document/127761 (“Congestion Pricing in New York”).

        On June 14, 2024, the FHWA completed its required re-evaluation of the

 MTA-adopted tolling schedule and determined that the Final FONSI was still valid. See

 Fed. Defs.’ Notice of Issuance of Re-Evaluation, ECF No. 156 (notifying court that

 “on June 14, 2024, FHWA issued a Re-Evaluation [the (“June 2024 Re-Evaluation”)]

 finding that the conclusions in the Final EA remain valid in light of the final tolling schedule

 adopted by [MTA], and thus that no further environmental review is warranted.”). The

 June 2024 Re-Evaluation confirmed that the March 2024 adopted toll structure and

 impacts associated with it were analyzed and mitigated appropriately under NEPA, that

 no additional environmental analysis was warranted, and that the conclusions in the

 Final EA and Final FONSI remained valid.            See Supplement to the Record, ECF
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 No. 186-3 (supplement to record containing June 2024 Re-Evaluation and FHWA

 approval).

         Before a tolling agreement under the VPPP was executed between the FHWA and

 Project Sponsors allowing for the CBD Tolling Program to be implemented, New York

 Governor Kathy Hochul announced on June 5, 2024 that the Program would be

 temporarily paused, citing concerns over the cost of the toll to drivers. See Letter, ECF

 No. 155 (noting that Governor Hochul “directed the MTA to pause implementation of the

 Manhattan Central Business District Congestion Pricing Program (the “Program”) under

 state law”). On June 26, 2024, the MTA Board officially voted to pause implementation

 of the Program. See MTA Board Meeting at 7–9 (July 31, 2024 adoption of June 26, 2024

 minutes), available at https://new.mta.info/document/147196.

         In early November 2024, Governor Hochul recommended the lifting of the

 temporary pause. Subsequently, on November 8, the Project Sponsors wrote the FHWA

 proposing that the March 2024 adopted toll structure be implemented through a phase-in

 over six years (the “Phase-In Approach”). Under the Phase-In Approach, the Program

 would be implemented in three steps, culminating with the full March 2024 adopted toll

 structure in the third phase. On November 18, 2024, the MTA Board approved the

 phasing of the toll structure, announcing that the Program will launch on January 5, 2025.

 “MTA     Board   Approves     Phasing     In   the     Congestion     Relief   Zone   Toll”

 https://new.mta.info/press-release/mta-board-approves-phasing-congestion-relief-zone-

 toll.
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        Pursuant to the Project Sponsors request, the FHWA conducted another

 re-evaluation of the Program in light of the new Phase-In Approach to the tolling structure.

 “On November 21, FHWA issued [its second re-evaluation (the “November 2024

 Re-Evaluation”)] finding that the conclusions in the Final EA and FONSI remain valid in

 light of the most recent tolling schedule adopted by the [TBTA], and thus that no further

 environmental review is warranted.” See Fed. Defs.’ Notice of Issuance of Re-Evaluation

 2 and VPPP Agreement, ECF No. 174 (further noting that the “Project Sponsors and

 FHWA officials signed the VPPP agreement” on November 21 as well). In light of these

 significant subsequent developments, the court held a conference with the parties and

 directed supplementation of the record.        See Status Conference, ECF No. 185;

 Order Directing Supplement to the Record, ECF No. 184 (directing the addition of

 FHWA’s June 2024 and November 2024 Re-Evaluations to the record); see also

 Supplement to the Record, ECF Nos. 186 & 187 (supplement to record containing

 June 2024 and November 2024 Re-Evaluations).

                                  II. Standard of Review

        Neither NEPA nor the CAA provide a standard of review for a challenge to the final

 determinations by the FHWA regarding the environmental review process under these

 statutes. Accordingly, the court looks to the Administrative Procedure Act’s provisions on

 judicial review, 5 U.S.C. §§ 701–706, and in particular, its provision governing the scope

 of court review for this environmental challenge, i.e., whether the FHWA’s actions were

 “arbitrary, capricious, [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A); see also Marsh

 v. Or. Nat. Res. Council, 490 U.S. 360, 375–78 (1989); Society Hill Towers Owners’ Ass’n
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 v. Rendell, 210 F.3d 168, 178–79 (3d Cir. 2000) (adopting Section 706(2)(A) standard for

 review of administrative decision not to prepare EIS based on FONSI).

       The arbitrary, capricious, or abuse of discretion standard is a long–established

 word formula. See 3 Charles H. Koch, Jr. & Richard Murphy, Administrative Law and

 Practice §§ 9.21, 9.27[1] (3d ed. Mar. 2024) (“3 Admin. L. & Prac.”). 6 This standard

 encompasses judicial review of agency fact-finding, as well as review of the agency’s

 reasoning for its decision. See Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.

 402, 414–16 (1971) (review of agency fact-finding); Bowman Transp., Inc. v. Arkansas-

 Best Freight Sys., Inc., 419 U.S. 281, 285–86 (1974) (review of agency reasoning).

       Judicial review under this standard is limited, see Citizens to Preserve Overton

 Park, 401 U.S. at 416, and “communicates a lesser degree of judicial scrutiny than the

 reasonableness test.” 3 Admin. L. & Prac. § 9.25. The touchstone of arbitrariness review

 is rationality, meaning that the court must analyze whether there is a rational connection

 between the facts found by the agency and its ultimate decision, “based on a

 consideration of the relevant factors and whether there has been a clear error of

 judgment.” Citizens to Preserve Overton Park, 401 U.S. at 416; see also 6 Jacob A. Stein

 & Glenn A. Mitchell, Administrative Law § 51.03 (2024). In so doing, the court is to

 examine whether an agency determination “entirely failed to consider an important aspect



 6 The “arbitrary, capricious, [or] abuse of discretion standard” combines two “roughly

 equivalent” word formulas, “arbitrary [or] capricious” and “abuse of discretion.” See
 3 Admin. L. & Prac. § 9.27[1]. The equivalence is such that “[n]o distinctions are drawn
 among the terms ‘arbitrary, capricious, [or] an abuse of discretion’ in § 706(2)(A).” Id.
 (quoting Ronald M. Levin, Scope-of-Review Doctrine Restated: An Administrative Law
 Section Report, 38 Admin. L. Rev. 239, 292 (1986)).
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 of the problem, offered an explanation for its decision that runs counter to the evidence

 before the agency, or is so implausible that it could not be ascribed to a difference in view

 or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.

 Ins. Co., 463 U.S. 29, 43 (1983). In arbitrariness review, the court is monitoring the

 agency for a lower “probability of correctness”, i.e., a willingness “to accept a higher risk

 [for [tolerance] of error than would be appropriate under the reasonableness (substantial

 evidence) [standard].” 3 Admin. L. & Prac. §§ 9.25[1], 9.25[2]; see also State of Oregon

 v. Bureau of Land Mgmt., 876 F.2d 1419, 1425 (9th Cir. 1989) (“under this standard a

 fairly high risk of agency error must be tolerated” (internal citation and quotation marks

 omitted)).

        An agency, like the FHWA, is required to take a “‘hard look’ at environmental

 consequences” prior to issuing an EA and a FONSI. Kleppe v. Sierra Club, 427 U.S. 390,

 410 n. 21 (1976) (quoting Natural Resources Defense Council, Inc. v. Morton, 458 F.2d

 827, 838 (D.C. Cir. 1972)). In conducting its review, the court is to look “closely at whether

 the agency has taken a hard look at the question (i.e. the court is not to take a hard look

 itself).” 3 Admin. L. & Prac. § 9.26.

        An agency satisfies its hard look obligation under NEPA when it has “adequately

 considered and disclosed the environmental impact of its actions.” Balt. Gas & Elec. Co.

 v. Nat. Res. Def. Council, Inc., 462 U.S. 87, 98 (1983)). However, NEPA does “not require

 agencies to elevate environmental concerns over other appropriate considerations.”

 Balt. Gas & Elec. Co., 462 U.S. at 97. Therefore, “[i]f the adverse environmental effects

 of the proposed action are adequately identified and evaluated, the agency is not
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 constrained by NEPA from deciding that other values outweigh the environmental costs.”

 Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989).

                                       III. Discussion

        Plaintiff raises a series of challenges that the FHWA acted arbitrarily in:

 (1) assessing the adverse environmental impacts on New Jersey resulting from increased

 air pollution; (2) assessing the adverse impacts on New Jersey communities, both inside

 and outside the focused study area, with environmental justice concerns; and (3) failing

 to adequately mitigate the adverse environmental impacts. See Pl.’s Mot. at 21–39.

 Plaintiff also raises concerns regarding the FHWA’s findings on the range of alternatives

 for the CBD tolling, as well as the adequacy of participation afforded to New Jersey

 governmental entities, officials, and the public throughout the administrative process.

 Id. at 39–48. Lastly, Plaintiff claims that the FHWA failed to conduct a transportation

 conformity analysis for the Project against New Jersey’s State Implementation Plan

 (“SIP”) as required under the CAA. 7 Id. at 48–50.




 7 Plaintiff also raised challenges to the final toll structure of the Program which was not

 set until November 30, 2023. See Pl.’s Resp. at 9–10, 12–15. While the parties disputed
 whether challenges to the final toll structure are properly before the court, see, e.g., Fed.
 Defs.’ Reply at 3–4, that toll structure was changed again significantly in the subsequent
 Re-Evaluations in June and November 2024. See generally Supplement to the Record,
 ECF Nos. 186 & 187. Given that the court is remanding this matter for the FHWA to
 address other issues, the court does not reach Plaintiff’s challenges to the final toll
 structure. Instead, the court will allow the FHWA and Project Sponsors to directly address
 challenges to the final toll structure in the first instance on remand.
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                                        A. Air Quality

       NEPA does not contain specific requirements to define the potentially impacted

 area of a proposed project. Yet, the CEQ regulations for NEPA do address the issue.

 These regulations state that “[i]n considering whether the effects of the proposed action

 are significant, agencies shall analyze the potentially affected environment and degree of

 the effects of the action.” 40 C.F.R. § 1501.3(b). Section 1501(b) further specifies:

              In considering the potentially affected environment, agencies
              should consider, as appropriate to the specific action the
              affected area (national, regional, or local) . . .. Significance [of
              the effects] varies with the setting of the proposed action. For
              instance, in the case of a site-specific action, significance
              would usually depend only upon the effects in the local area.

 40 C.F.R. § 1501.3(b)(1).

       The FHWA began its analysis of air quality issues by defining the relevant

 geographic region as consisting of 28 counties—12 in New York State (including the five

 New York City counties), 14 in New Jersey, and 2 in Connecticut. See DOT_0036245;

 DOT_0036246; DOT_0036818.            Because the CBD Tolling Program focused on

 commuting patterns, the FHWA found that approximately 65 percent of the more than

 1.2 million worker commuters into the CBD come from other parts of New York City,

 8 percent are from two Long Island counties outside New York City, 7 percent are from

 New York State counties north of New York City, 18 percent are from New Jersey, and

 2 percent are from Connecticut. See DOT_0036250–51. The 28 counties “represent the

 main catchment area for trips to and from the Manhattan CBD and therefore the area
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 where [vehicle miles travelled (“VMT”)] would change as a result of the [chosen] CBD

 Tolling Alternative.” See DOT_0036304; DOT_0036827.

          For the 28-county area, the FHWA in the Final EA determined that air quality

 compliance under the CAA is controlled by measurements against the national ambient

 air quality standards (“NAAQS”) list of so-called criteria pollutants.   From that list,

 the FHWA found the relevant criteria pollutants for its final assessment are carbon

 monoxide (“CO”), ozone, particles (particulate matter) with a diameter less than or equal

 to 10 micrometers (referred to as PM10), particles with a diameter less than or equal to

 2.5 micrometers (“PM2.5”), and sulfur dioxide. See 42 U.S.C. §§ 7407(d)(4), 7407, 7409;

 40 C.F.R. § 93.102(b)(1), DOT_0036820–21.         National primary ambient air quality

 standards are those required to meet public health concerns, while national secondary

 ambient air quality standards are those required to meet public welfare concerns. See

 42 U.S.C. § 7409(b)(1) & (2). Areas within a state that do not meet the national primary

 or secondary standard for a particular pollutant are referred to as non-attainment areas.

 All but three of the 28 counties are in non-attainment status for ozone. Many of the

 counties or parts of them are maintenance areas (previously non-attainment areas) for

 carbon monoxide, and particulate matter PM2.5 and PM10. See 42 U.S.C. § 7407(d)(1)(A);

 40 C.F.R. § 93.101; DOT_0006807–12; DOT_0036818; DOT_0036821.

          The FHWA also took into account the EPA’s list of nine hazardous chemical

 compounds, generated by vehicles among other sources and referred to as priority mobile

 source air toxics (“MSAT”), as they are drivers of cancer and other serious health effect

 risks.    See DOT_0036822.      The FHWA has developed a three-tiered approach
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 for analyzing MSAT in NEPA-related documents. Tier 3 requires “quantitative analysis

 to forecast local-specific emission trends of the priority MSAT for each alternative, to use

 as a basis of comparison.” See Updated Interim Guidance on Mobile Source Air Toxic

 Analysis      in     NEPA        Documents         at     6      (Jan.      18,      2023),

 https://www.fhwa.dot.gov/environment/air_quality/air_toxics/policy_and_guidance/msat/f

 hwa_nepa_msat_memorandum_2023.pdf.             The FHWA determined that the CBD

 Program was a Tier 3 program affecting a widespread area located proximately

 to populated areas. DOT_0036823. Finally, the FHWA analyzed the Program’s effect

 on greenhouse gas (“GHG”) emissions, recognizing that there are no national standards,

 criteria, or thresholds in effect for GHGs. The FHWA noted that carbon dioxide is the

 largest component of GHGs and GHGs are measured in carbon dioxide equivalents.

 DOT_0036826; DOT_36838–41.

        To conduct its air quality mesoscale, MSAT, and GHG analyses, the FHWA utilized

 the CBD tolling scenario having the lowest toll rates among the seven scenarios. 8 The

 FHWA reasoned that this scenario would result in the smallest overall regional VMT




 8 To identify the “range of potential effects that could occur from implementing the
 Project,” the FHWA evaluated multiple different tolling scenarios for the structure of
 implementing the “CBD Tolling Alternative.” See DOT_0036290 (describing tolling
 scenarios for environmental review in Final EA); see also discussion infra Section III.D
 (addressing consideration of alternatives and selection of Alternative T-4, i.e., CBD
 Tolling Alternative). In brief summary, FHWA considered seven different tolling
 scenarios, with Tolling Scenario A used as the basis for FHWA’s air quality analysis
 addressed in this section. See DOT_0036290–95 (describing differences, as well as
 shared similarities, in each of the seven tolling scenarios considered). Plaintiff’s
 challenge to FHWA’s decision to rely on Tolling Scenario A in its Air Quality analysis is
 addressed in greater detail in Section III.A.2 of this Opinion.
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 decrease compared to the No Action Alternative, and as a consequence, the FHWA

 would consider the scenario with the lowest beneficial effect on regional air quality.

 DOT_0036290–92; DOT_0036351; DOT_0036827–28.               Using that tolling scenario,

 the FHWA calculated for each of the 28 counties their VMT changes for 2023 and 2045.

 DOT_0036829–30.      Then, “[b]ased on the methodology used to identify the most

 concentrated areas of change,” the FHWA reduced its focus down from 28 to 12 counties.

 The FHWA explained that:

              As shown in Table 10-3, the 12 counties analyzed include
              those in New York that are projected to have the largest
              increase in VMT (Richmond County [Staten Island]) and the
              largest decrease in VMT (New York County [Manhattan]) as a
              result of the Project, as well as those counties in New Jersey
              that are predicted to have the largest increase in VMT (Bergen
              County) and the largest decrease in VMT (Hudson County) as
              a result of the Project, in both 2023 and 2045. VMT in
              Connecticut is predicted to decrease in both 2023 and 2045
              between the No Action Alternative and the CBD Tolling
              Alternative; as such, Connecticut counties were not included
              in the mesoscale, MSAT, and GHG analyses.

 DOT_0036827–28.

       Having established this 12-county study area, the FHWA explained its

 methodology as follows:

              Air quality mesoscale, MSAT, and GHG analyses were
              conducted to determine how the Project would affect total
              mobile source emissions. Air quality was also analyzed on a
              local (microscale) level to evaluate potential CO and PM
              impacts. The mesoscale analysis was conducted to show the
              differences between the No Action Alternative and the CBD
              Tolling Alternative, whereas the local analysis demonstrated
              that the hot-spot requirements are satisfied for Project-level
              conformity per the CAA as well as for NEPA.
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               Analyses were conducted for the estimated time of completion
               (2023) and future analysis year (2045). It should be noted that
               the year 2023 No Action Alternative is also representative of
               existing conditions, as the Project will be implemented in a
               relatively short time period.

 DOT_0036827 (description of “Methodology” from Final EA chapter on Air Quality).

                                   1. Insignificant Impacts

        Plaintiff’s opening argument states that “[a]lthough the Final EA identifies several

 significant adverse impacts on air quality in New Jersey, it summarily labeled these

 impacts ‘insignificant.’” See Pl.’s Mot. at 22; see also id. at 24 (arguing FHWA “identified

 severe air quality impacts in Bergen County, but labeled them insignificant, without

 explaining how it reached that conclusion”). Federal Defendants point out in response,

 Plaintiff’s characterization of the underlying administrative findings is simply incorrect.

 See Fed. Defs.’ Cross-Mot. at 29 n.24 (“It is unclear where the State believes the Final

 EA refers to the Project’s impacts on New Jersey air quality as ‘insignificant,’ since the

 State provides no citation for that proposition.”). Rather, Federal Defendants highlight

 that the Final EA and FONSI were predicated on commitments to mitigation that

 ameliorated potentially significant adverse effects. See id. at 16–20.

        The administrative record does not appear to contain any findings that the adverse

 effects identified by Plaintiff would be “insignificant,” but rather shows that the significant

 adverse effects likely to result from the Program would be reduced by committed

 mitigation. See, e.g., DOT_0007250 (“the Technical Memorandum identifies a package

 of mitigation measures to address potential traffic diversions and associated pollutant

 emissions or health effects resulting from the Project, to avoid creating a
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 disproportionately high and adverse effect.”). Accordingly, the court addresses Plaintiff’s

 challenges to the FHWA and Project Sponsors’ findings as to the significance of adverse

 effects in connection with the issue of mitigation. See infra Section III.C.

        Moving past Plaintiff’s mischaracterization of the record, Plaintiff proceeds to raise

 three arguments as to why the air quality analysis in the Final EA and FONSI were

 arbitrary and capricious. Specifically, Plaintiff maintains that the “FHWA failed to consider

 the full range of environmental impacts on New Jersey by: (1) cherry-picking which tolling

 scenarios to analyze; (2) selectively relying on air quality results in only particular portions

 of the state; and (3) ignoring the EPA’s expertise in assessing the need for a more robust

 air quality analysis.” Pl.’s Mot. at 27. The court addresses each argument in turn, and

 then considers Plaintiff’s related arguments regarding the FHWA’s consideration

 of environmental justice communities.

                                     2. Tolling Scenarios

        After evaluating several preliminary alternatives to reduce traffic congestion,

 including the No Action Alternative, the FHWA and Project Sponsors found that

 “only Alternative T-4 (Zone-based pricing through the CBD Tolling Program) would meet

 the purpose for the Project and the screening criteria tied to the objectives. Consequently,

 Alternative T-4, the CBD Tolling Program, is the only reasonable build alternative and

 the only build alternative evaluated in detail in [the Final EA].” 9           DOT_0036266.

 To identify the “range of potential effects that could occur from implementing the Project,”



 9 The FHWA and Project Sponsors’ consideration of program alternatives, and the
 Plaintiff’s related challenges, are discussed in more detail in Section III.D.
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 the FHWA evaluated multiple different tolling scenarios for the structure of implementing

 the “CBD Tolling Alternative.”     See DOT_0036290 (describing tolling scenarios for

 environmental review in Final EA). 10 Ultimately, the FHWA did not identify a “preferred

 tolling scenario,” but nevertheless found that “the analyses in this EA afford

 an understanding of how, if warranted, the toll schedule can be structured to avoid

 adverse effects.” DOT_0036299. For purposes of conducting its air quality mesoscale,

 MSAT, and GHG analyses, the FHWA:

               evaluated the No Action Alternative and the CBD Tolling
               Alternative (Tolling Scenario A) for the estimated time of
               completion (2023) and future analysis year (2045). Tolling
               Scenario A was used for the mesoscale, MSAT, and GHG
               analyses because it is the tolling scenario that would result in
               the smallest reduction of VMT compared to the No Action
               Alternative. Therefore, Tolling Scenario A would have the
               lowest beneficial effect on regional air quality because
               changes in regional air quality emissions burden are directly
               related to changes in VMT.



 10 Table 2-3 in the Final EA specifies the seven tolling scenarios considered by the FHWA,

 including Scenario A—the “Base Plan.” See DOT_0036292. “The tolling scenarios vary
 in their assumptions about other factors, such as the amount of the toll for different types
 of vehicles, the times tolls would be imposed, exemptions from tolling, crossing credits
 for tolls paid on other toll tunnels or bridges, and discounts in the form of ‘caps’ on the
 number of tolls per 24-hour period to be applied to different types of vehicles. To meet
 the Project objective of creating a funding source for capital improvements and generating
 sufficient annual net revenues to fund $15 billion for capital projects for the MTA Capital
 Program, tolling scenarios that provide crossing credits, discounts, and/or exemptions
 have a higher toll value than those without these elements.” DOT_0036291. The other
 six tolling scenarios were: (B) Base Plan with Caps and Exemptions; (C) Low Crossing
 Credits for Vehicles Using Tunnels to Access the CBD, with Some Caps and Exemptions;
 (D) High Crossing Credits for Vehicles Using Tunnels to Access the CBD; (E) High
 Crossing Credits for Vehicles Using Tunnels to Access the CBD, with Some Caps and
 Exemptions; (F) High Crossing Credits for Vehicles Using Manhattan Bridges and
 Tunnels to Access the CBD, with Some Caps and Exemptions; and (G) Base Plan with
 same Tolls for All Vehicle Classes. See DOT_0036292.
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 DOT_0036828.

        Plaintiff contends that “because the Final EA only analyzed Tolling Scenario A—

 the Base Plan—when conducting a regional analysis of air quality changes, it ignored the

 adverse environmental effects on New Jersey.” Pl.’s Mot. at 27. While acknowledging

 the FHWA’s rationale, Plaintiff maintains that this rationale is arbitrary and capricious as it

 “will not result in the smallest reduction of VMT (or, in some instances, any reduction

 in VMT) on a regional, Statewide, or local scale in New Jersey.” Id. (citing DOT_0036353;

 DOT_0036359). Plaintiff argues, in contrast to Tolling Scenario A, “the other six tolling

 scenarios all show significantly greater increases in VMT throughout New Jersey.” Id.

 (citing DOT_0036353).

        Plaintiff’s arguments hinge on a New Jersey-centered approach, and much of

 Plaintiff’s argument is devoted to recharacterizing the entirety of the FHWA’s and Project

 Sponsors’ regional analysis in terms of focusing on New Jersey rather than the entire

 region. See Pl.’s Mot. at 28 (providing chart drawn from data in record focusing solely

 on VMT estimated impacts in New Jersey counties).                 Federal Defendants and

 Defendant-Intervenors 11 argue that Plaintiff’s New Jersey-focused approach and

 criticisms are unpersuasive in the context of the FHWA’s rationale for its selection of

 Tolling Scenario A as the basis for its regional analyses. See Fed. Defs.’ Cross-Mot.



 11 Defendant-Intervenors raise exhaustion of administrative remedies as to certain of

 Plaintiff’s arguments regarding the air quality analysis, including the scope of the analysis
 and the reliance on Tolling Scenario A. See Def.-Intervenors’ Reply at 13–16. Since
 Federal Defendants did not raise the exhaustion defense as to these issues, and both
 sets of Defendants engaged these issues on the merits, the court will address these air
 quality arguments on the merits.
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 at 25–27; Fed. Defs.’ Reply at 10–11; Def.-Intervenors’ Cross-Mot. at 32–33;

 Def.-Intervenors’ Reply at 14–15.       As to the mathematical calculations, Federal

 Defendants and Defendant-Intervenors emphasize that Plaintiff vastly inflated the

 adverse VMT increases in New Jersey of choosing any of Tolling Scenarios B through G

 over Tolling Scenario A. Fed. Defs.’ Cross-Mot. at 26–27; Def.-Intervenors’ Cross-Mot.

 at 32–33. A review of the record demonstrates no support for Plaintiff’s position. See,

 e.g., DOT_0036353–54; DOT_0036360–61 (record evidence reflecting a de minimis

 increase in VMT using Tolling Scenario C over Tolling Scenario A).

        Fundamentally, the parties dispute whether a rational basis existed for the FHWA’s

 methodological choice to use Tolling Scenario A. While Plaintiff may have offered what

 it perceives as a more rational option to Tolling Scenario A, that alone does not make the

 FHWA’s choice arbitrary. As noted above, the FHWA explained why it selected Tolling

 Scenario A, focusing its methodological choice on the significance of tying “its regional

 air quality analysis to regional changes in VMT, given the link between the two factors.”

 DOT_0036828. Although localized impacts, perhaps those driving Plaintiff’s position,

 may vary depending on the tolling scenario, the FHWA had a rational basis to use the

 worse-case scenario for its regional air quality analysis. That methodological choice lies

 within the agency’s discretion. In the court’s view, the FHWA did not act arbitrarily in the

 exercise of that discretion, so the court will defer to the FHWA’s choice. See Sierra Club

 v. Fed. Energy Reg. Comm’n, 867 F.3d 1357, 1367–68 (D.C. Cir. 2017) (emphasizing

 that courts applying NEPA “should not ‘flyspeck’ an agency's environmental analysis,

 looking for any deficiency no matter how minor;” instead, courts only look to confirm that
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 agency’s analysis is “reasonable and adequately explained,” noting that the agency’s

 “choice among reasonable analytical methodologies is entitled to deference.” (internal

 citations omitted)). Accordingly, the court will sustain the FHWA’s determination on this

 issue.

                                    3. Geographic Scope

          Plaintiff argues that the geographic scope of the Final EA and FONSI were unduly

 limited, maintaining that the FHWA selectively relied on air quality results in only particular

 portions of New Jersey. See Pl.’s Mot. at 26–27. Referring to the FHWA’s decision to

 conduct its air quality analyses across a 12-county sub-region study area, narrowed down

 from the broader 28-county regional study area, Plaintiff contends that “the Final EA

 excluded 12 New Jersey counties from its regional air quality analysis for no good

 reason.” Id. at 29. Plaintiff highlights that “[o]f the 28 counties [in the Regional Study

 Area], 12 were in New York, 14 in New Jersey, and 2 in Connecticut. However, in

 analyzing the congestion pricing scheme’s air quality impacts, the Final EA evaluated only

 12 counties from those 28 counties in the Regional Study Area, and only two in

 New Jersey—despite the fact that New Jersey had represented half of the 28-county

 Regional Study Area.” Id. (citing DOT_0036304 & DOT_0036827–28).

          Specifically, Plaintiff maintains that “because FHWA’s air quality analysis

 evaluated only two New Jersey counties (Bergen and Hudson), it [was] simply impossible

 to rule out whether other New Jersey counties [would] experience similar or worse

 adverse impacts than Bergen County.” Id. at 22–23. According to Plaintiff, the underlying

 regional air quality analysis is arbitrary and capricious as it fails to analyze 74 census
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 tracts (contained in six excluded counties) in New Jersey that will have adverse VMT

 because of the Project. Id. at 30. Plaintiff further argues that several of the excluded

 New Jersey counties had greater claims to analysis than New York counties like Suffolk,

 Putnam, and Rockland, which were included in the 12-county subset. See id. at 29–31;

 see also 1st Tr. at 201:13–205:25 (Plaintiff’s oral presentation on challenge to failure

 to include more New Jersey counties in 12-county air quality study area). Lastly, Plaintiff

 contends that the FHWA failed to explain why there were only two New Jersey counties

 in the 12-county local study area for air quality but four New Jersey counties in the

 10-county local study area for environmental justice. 12 To the Plaintiff, that discrepancy

 highlights the arbitrariness of the FHWA’s methodology. See Pl.’s Resp. at 17–18;

 see also 1st Tr. at 221:19–224:24 (Plaintiff’s argument that FHWA made “irrational

 distinctions” in determining 12-county air quality study area and 10-county environmental

 justice study area).

        Federal Defendants maintain that the reduction from the 28-county Regional Study

 Area to the 12-county air quality local study area was fully explained and the final

 determination was neither arbitrary nor capricious. See Fed. Defs.’ Cross-Mot. at 15–17,




 12 Plaintiff raises other challenges with respect to the FHWA and Project Sponsors’
 consideration of environmental justice communities in New Jersey that are addressed in
 Section III.B. Additionally, Plaintiff makes arguments challenging the FHWA’s microscale
 “hot spot” analysis of air quality, which analyzed four intersections in New Jersey (out of
 102 in the regional study area) to evaluate potential carbon monoxide and particulate
 matter. Pl.’s Mot. at 31 (citing DOT_0036828; DOT_0036859; and DOT_0036476).
 Plaintiff’s arguments as to this analysis connect with its broader contentions that the
 FHWA and Project Sponsors failed to conduct adequate analysis with respect to Bergen
 County, and these arguments are addressed in Section III.B.2.
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 23–24; Fed. Defs.’ Reply at 9. Per Federal Defendants, “[w]hile ‘the regional study area

 for the Project includes 28 counties’ which ‘represent the main catchment area for trips

 to and from the Manhattan CBD and therefore the area where VMT would change as

 a result of the [Project],’ to identify ‘concentrated areas of change,’ FHWA’s air quality

 analysis used a 12-county sub-area, including Hudson and Bergen counties in New

 Jersey.’” Fed. Defs.’ Cross-Mot. at 15 (citing to DOT_0036827–28).

        Federal Defendants further explain that this narrowing to a 12-county study area

 allowed the agency to “focus on [ ] those segments . . . across the 12-county region where

 the largest benefits and effects would be expected.’” Id. at 24 (citing DOT_0036823–24

 with emphasis added). The Government notes that the FHWA reasoned that its various

 air quality analyses were focused on areas likely to experience the “most concentrated

 … change.” Id. (citing DOT_0036827 & DOT_0036830). Federal Defendants maintain

 that the air quality analysis methodology focusing on counties showing the greatest

 effects allows for reasonable extrapolation of effects on other New Jersey counties. Id.

 (citing Tinicum Twp. v. U.S. Dep’t of Transp., 685 F.3d 288, 296 (3d Cir. 2012) for

 proposition that “NEPA does not require maximum detail. Rather, it requires agencies to

 make a series of line-drawing decisions based on the significance and usefulness of

 additional information.”).

        Despite this explanation, Plaintiff maintains that the FHWA’s methodological

 choices were arbitrary. See Pl.’s Resp. at 15. Plaintiff emphasizes that while the FHWA

 may have explained why it selected the two New Jersey counties for its 12-county study

 area, the “FHWA fail[ed] to explain why it also chose to analyze ten New York counties
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 in its regional analysis.”    Id. (citing DOT_0036827–28).          Plaintiff reasons that

 “[i]f statewide air quality impacts in New Jersey can be reasonably predicted by analyzing

 just two counties, the same should hold true for New York.” Id. Plaintiff thus concludes

 that given this distinction in the number of counties included in the 12-county area,

 the FHWA’s methodology for selecting the 12-county air quality analysis study area could

 not have been “reasonable and adequately explained.” Id. (citing Fed. Energy Reg.

 Comm’n, 867 F.3d at 1368).

       Plaintiff’s arguments highlighting other New Jersey counties that could have also

 been included in the 12-county study area fail to demonstrate that the agency’s selection

 of the 12-county study area was arbitrary. Similarly, Plaintiff’s emphasis on the number

 of New York counties included in the study area and its suggestion that more New Jersey

 counties should have been included also fails to persuade the court that the FHWA’s

 methodological selection of the 12-county air quality study area should be remanded.

 Rather, it appears that Plaintiff is displeased with the agency’s selection of a reasonable

 study area and would prefer that the agency have adopted an alternative study area more

 focused on New Jersey. See Pl.’s Mot. at 29–30 (detailing outcomes “if FHWA and the

 Project Sponsors had included those 12 New Jersey counties” that had been excluded

 from air quality study area in Final EA). Plaintiff’s preference for another methodological

 choice does not render the agency’s selection unreasonable nor arbitrary given the

 agency’s rational explanation for its approach. See DOT_0036827–31 (Final EA Air

 Quality section detailing basis for 12-county study area for air quality mesoscale, MSAT,

 and GHG analyses); see also Fed. Energy Reg. Comm’n, 867 F.3d at 1367–68.
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        The court is also unpersuaded by Plaintiff’s conflation of the air quality and

 environmental justice analyses. See Pl.’s Resp. at 17–18. As Federal Defendants

 explain, there is an approved federal methodology for defining environmental justice

 populations, which was explained in detail in the Final EA. See Fed. Defs.’ Reply at 9.

 To evaluate the effects of the Project on those populations, the FHWA decided to analyze

 a 10-county region “consisting of New York City and the five adjacent counties where

 the greatest change in traffic volumes and [VMT] are predicted to occur.”           See id.

 (citing DOT_0036958). Federal Defendants acknowledge that the metrics between the

 air quality and environmental justice analyses are similar, but point out that their purpose

 is different. Namely, the air quality analysis was intended to assess certain regional and

 local air quality effects. Id. (citing DOT_0036827). By contrast, the environmental justice

 analysis was intended to identify, at the census tract level, where relevant populations

 might suffer adverse effects from the Project.      Id. (citing DOT_0036955–56).       That

 difference supports the FHWA’s distinct choices because the air quality analysis could

 support extrapolation to other areas, while the environmental justice analysis could not

 (given it was based on local detail). Accordingly, the court sustains the use of the

 12-county study area and rejects Plaintiff’s challenge to the geographic scope of the air

 quality analysis in the Final EA.

        The FHWA also undertook microscale “hot spot” screening of 102 local road

 intersections to determine whether detailed microscale modeling for carbon monoxide or

 either of the particulate matter levels, PM10 or PM2.5 would be required. The FHWA chose

 the intersections, primarily entry point locations near bridges and tunnels directly
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 connecting to the CBD, based on potential highway diversions from the 10 highway

 corridors within the 28-county region. Four of the 102 were in New Jersey, all clustered

 in Jersey City as entry points for the Holland Tunnel. DOT_0001143; DOT_0003668–69;

 DOT_0036476; DOT_0036501–03; DOT_0036861–63. All 102 intersections passed the

 screening for carbon monoxide and particulate matter. DOT_0003672; DOT_0036860;

 DOT_0036868.

       Plaintiff challenges this “hot spot” analysis as arbitrary, arguing that the agency

 analyzed only four intersections in New Jersey to evaluate potential carbon monoxide

 and particulate matter. Pl.’s Mot. at 31. Plaintiff notes that the FHWA chose the 102

 intersections because “they are the locations expected to demonstrate the largest

 changes in traffic due to the Project.” Id. (quoting DOT_0036859–60 (internal quotation

 marks omitted)). Plaintiff, however, maintains that the Final EA focused only on those

 intersections “in New Jersey where traffic is expected to decrease and air quality to

 improve if the congestion pricing scheme is implemented.” Id. Plaintiff urges the court to

 conclude that the FHWA’s geographically-limited air quality analysis, including its

 microscale “hot spot” analysis, could not fulfill NEPA’s “hard look” requirement as it

 excluded “the portions of New Jersey most likely to be adversely impacted by the

 congestion pricing scheme.” Id. at 31–32. 13



 13 In footnotes, Plaintiff raises arguments regarding whether the FHWA’s “hot spot
 analysis” violated New York law, as well as asserting that the FHWA’s “noise pollution
 analysis based on the same intersections [as the “hot spot” analysis] is improper,
 arbitrary, and capricious.” See Pl.’s Mot. at 31–32, nn.34 & 35. As Federal Defendants
 correctly point out, arguments raised solely in footnotes are considered waived. See Fed.
 (footnote continued)
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        Federal Defendants maintain that the FHWA “produced a detailed analysis of

 potential effects on environmental justice communities, including by looking at increased

 traffic congestion and changes in air quality.       Fed. Defs.’ Cross-Mot. at 34 (citing

 DOT_0036978–81 & DOT_0036981–84). Federal Defendants highlight that “the Final

 EA includes a highway segment analysis in Fort Lee, in lieu of the hot-spot analysis

 applicable to intersections.” Id. (citing DOT_0036984); see also Fed. Defs.’ Reply at 11

 (explaining how highway link analysis addresses Plaintiff’s concerns about limited hot

 spot analysis). The Government further explains that “‘[t]he local intersections at the New

 Jersey . . . approach[ ] to the George Washington Bridge and the New Jersey approach

 to the Lincoln Tunnel were not included because traffic at those intersections connects

 primarily to regional highways and not local streets.’” Id. at n.6 (citing DOT_0036475 and

 DOT_0007927).

        In response, Plaintiff raises challenges to the adequacy of the “highway link

 analysis,” contending that this analysis was arbitrarily limited to certain particulate matter

 and that it was arbitrarily limited to considering impacts from only one tolling scenario.

 See Pl.’s Resp. at 21–22. As Defendant-Intervenors point out, however, Plaintiff failed to

 raise these arguments during the NEPA process or in its opening brief, and they are

 therefore forfeited. See Def-Intervenors’ Reply at 16 (citing In re Niaspan Antitrust Litig.,

 67 F.4th 118, 135 (3d Cir. 2023)). The court agrees. Accordingly, the court does not



 Defs.’ Cross-Mot. at 28 n.23 (citing John Wyeth & Bro. Ltd. v. CIGNA Int’l Corp., 119 F.3d
 1070, 1076 n.6 (3d. Cir. 1997) (“arguments raised in passing (such as, in a footnote), but
 not squarely argued, are considered waived”)). Accordingly, the court does not reach any
 of Plaintiff’s arguments raised solely in footnotes.
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 reach Plaintiff’s challenges to the highway link analysis, and rejects Plaintiff’s challenge

 to the adequacy of the “hot spot” analysis.

                                 4. EPA Recommendations

        The EPA submitted comments on the Program addressing both air quality and

 environmental justice from March 2022 through March 2023 with respect to various drafts

 of the EA. Initially, the EPA noted (1) the lack of an adequate justification by the FHWA

 for its selected intersections and highway segments for its air quality analysis, and (2) that

 NAAQS attainment alone may not ensure no localized harm to EJ populations.

 DOT_0044941; DOT_0044944. While acknowledging improvements from one draft of

 the EA to another, the EPA in its next comments again requested a more thorough

 evaluation of the burdens on EJ communities within the wider 28-county regional study

 area. DOT_0041091. Additionally, the EPA questioned why one of the alternatives

 considered by the FHWA was found to not be a viable alternative and suggested that the

 FHWA should consider combinations of alternatives that collectively could achieve the

 Project’s objectives. 14 DOT_0041092.

        In a third set of comments, the EPA again highlights the insufficiency of data

 around localized and disproportionate air quality impacts, including adverse effects in

 Bergen County and recommended more expansive microscreening of intersections.

 DOT_0007920; DOT_0007922. Additionally, the EPA emphasized that a cumulative

 impact analysis was needed throughout the entire EA, focusing particularly in the chapter




 14 For more on the FHWA’s consideration of alternatives, see infra Section III.D.
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 on Environmental Justice.     DOT_0007922–24.       Ultimately, the EPA acknowledged

 improvements made by the FHWA made in all the drafts leading to the Final EA, with

 particular attention paid to Environmental Justice issues, with the addition of the

 Environmental Justice Technical Memorandum in Appendix 17D and the inclusion of an

 adaptive management plan. DOT_0045366.

       As to the entirety of that input, Plaintiff argues that the FHWA and Project Sponsors

 arbitrarily failed to take into account the EPA’s feedback and recommendations on

 “‘an insufficiency of data’” regarding the FHWA’s environmental analyses “‘around

 localized and disproportionate air quality impacts’” in certain areas in New Jersey. Pl.’s

 Mot. at 5 (citing DOT_0045025). Plaintiff further maintains that the FHWA ignored the

 EPA’s recommendation that a more robust air quality analysis be undertaken before

 issuing the Final EA and FONSI. Id. at 32–33. In particular, Plaintiff contends that “the

 EPA recommended that FHWA expand its microscale screening analysis to include

 intersections with an increase in traffic (not just a decrease) and to encompass

 intersections in Bergen County, where VMT is expected to do just that.” Id. at 32 (citing

 DOT_0045025; DOT_0045029).

       Plaintiff emphasizes that the EPA explicitly explained to the FHWA that “‘benefits

 in some areas do not mean that disproportionate adverse impacts do not occur

 elsewhere. All potential adverse impacts should be identified, explained, and analyzed,

 irrespective of benefits to other areas.’”   Id. (quoting DOT_0045029 with emphasis

 added). Ultimately, Plaintiff maintains that the FHWA ignored the EPA’s expert advice,

 turned a blind eye to increases in VMT and attendant air pollution in New Jersey, and
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 issued its FONSI without addressing the EPA’s concerns, thereby rendering the FHWA’s

 air quality analysis in the Final EA and FONSI arbitrary and capricious. Id. at 32–33 (citing

 Cal. v. U.S. Dept of Transp., 260 F. Supp. 2d 969, 972–74 (N.D. Cal. 2003); Food & Water

 Watch v. Fed. Energy Reg. Comm’n, 28 F.4th 277, 289 (D.C. Cir. 2022); and 74 C.F.R.

 § 650.4(k)(2)(i)).

        Federal Defendants disagree, arguing that Plaintiff misrepresents the “FHWA’s

 response to the EPA’s comments and overlooks the additional analysis in the Final EA.”

 Fed. Defs.’ Cross-Mot. at 28. They acknowledge that Plaintiff is correct that the EPA

 recommended that the FHWA “include a more expansive microscale screening analysis”

 to include Bergen County.       Id. (citing DOT_0007922).       Nevertheless, the Federal

 Defendants contend that the FHWA undertook additional research to “broaden the

 analysis,” including producing the environmental justice Technical Memorandum

 incorporating   additional highway     truck traffic   emissions      studies.   Id.   (citing

 DOT_0007926). Furthermore, the Government notes that the Final EA describes the

 methodology behind the intersection selection and screening analysis, as well as

 additional efforts to target mitigation measures.           Id. (citing DOT_0007927 &

 DOT_0007929); see also Def.-Intervenors’ Cross-Mot. at 34–36.

        As to the EPA’s call for additional analysis of localized effects on air quality, the

 Project Sponsors thoroughly addressed those concerns by “‘conduct[ing] an additional

 assessment of the Project effects on traffic proximate to environmental justice

 communities and resulting emissions and potential associated health effects,’” and

 committing to spend $155 million in mitigation for communities with preexisting pollution
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 and health burdens.”      Id. at 36 (citing DOT_0036989–96, DOT_0006963–82, &

 DOT_0007243–440). They also pointed out that the EPA subsequently “acknowledge[d]

 the improvements [made] throughout the NEPA process,” praised the supplemental

 analysis and mitigation commitment, and most importantly did not request any further

 analysis. DOT_0045366. Upon review of the record as a whole, the court cannot agree

 with Plaintiff that the FHWA and Project Sponsors ignored the EPA’s expert advice, nor

 turned a blind eye to impacts in New Jersey.

       In response to Plaintiff’s argument that the EA acted arbitrarily by analyzing only

 four intersections in New Jersey in the 102-intersection microscale analysis,

 Defendant-Intervenors point to the Final EA that explained that the FHWA focused only

 on those intersections “‘deemed to have the greatest potential for increased traffic for

 certain tolling scenarios based upon an evaluation of diversions using the [Best Practice

 Model (“BPM”)].” Def.-Intervenors’ Cross-Mot. at 34 (quoting DOT_0007927; and citing

 DOT_0036475 & DOT_0004647–74). As to Plaintiff’s argument that traffic modeling for

 the four New Jersey intersections predicted decreases in traffic, Defendant-Intervenors

 argue that the Final EA highlights that many of the analyzed intersections in New York

 also were projected to experience traffic decreases.               Id. at 34–35 (citing

 DOT_0006815-24).      New Jersey specifically complains that intersections in Bergen

 County were not analyzed, again ignoring the FHWA’s response to the EPA’s comment,

 which explained that “[t]he local intersections at the New Jersey and Manhattan

 approaches to the George Washington Bridge” (in Bergen County) were not included in

 the 102-intersection microscale analysis “because traffic at those intersections connects
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 primarily to regional highways and not local streets.” Compare Pl.’s Br. at 32, 36–37, with

 DOT_0036475 (explaining FHWA’s rationale addressing EPA’s microscale analysis

 comment); see also DOT_0007927. Because diversions would be most evident on the

 highway west of the George Washington Bridge, the FHWA instead performed a highway

 link analysis. According to the Project Sponsors, this analysis showed that even under

 the tolling scenario predicted to have the greatest impact on traffic diversions in Fort Lee,

 the Project could result in an increase of PM2.5 emissions of less than a tenth of one

 percent and would not cause exceedances of the NAAQS for particulate matter.

 Def.-Intervenors’ Cross-Mot. at 34–35 (citing DOT_0036859); see also DOT_0036865;

 DOT_0007927. Taking the record as a whole, the FHWA provided a rational explanation

 for its fact finding and determinations reflecting consideration of the EPA’s comments.

 Accordingly, the court rejects Plaintiff’s challenges to the Final EA and FONSI predicated

 on the EPA’s comments.

                                 B. Environmental Justice

        With regard to an environmental justice analysis, Executive Order No. 12,898,

 59 Fed. Reg. 7,629 (Feb. 16, 1994), requires each Federal agency to collect and analyze:

               readily accessible and appropriate information for areas
               surrounding facilities or sites expected to have a substantial
               environmental, human health, or economic effect on the
               surrounding populations, when such facilities or sites become
               the subject of a substantial Federal environmental
               administrative . . . action.

 Id. § 3-302(b), 59 Fed. Reg. at 7,631.
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        The CEQ publication Environmental Justice: Guidance Under the National

 Environmental Policy Act (Dec. 10, 1997), available at https://ceq.doe.gov/docs/ceq-

 regulations-and-guidance/regs/ej/justice.pdf (last         accessed     December 30, 2024)

 (“Guidance”) provides additional context for conducting an environmental justice analysis.

 The first of its six general principles states that:

                Agencies should consider the composition of the affected
                area, to determine whether minority populations, low-income
                populations, or Indian tribes are present in the area affected
                by the proposed action, and if so whether there may be
                disproportionately high and adverse human health or
                environmental effects on minority populations, low-income
                populations, or Indian tribes.

 Guidance at 8–9.

        Relatedly, the Guidance reiterates the relevance of the area potentially affected in

 discussing the EA scoping process. See Guidance at 10–11. It further notes that, in

 determining “the affected communities,” “agencies should identify a geographic scale for

 which they will obtain demographic information on the potential impact area.” Id. at 14.

 Additionally, the Guidance states that

                [m]inority populations should be identified where either: (a)
                the minority population of the affected area exceeds 50
                percent or (b) the minority population percentage of the
                affected area is meaningfully greater than the minority
                population percentage in the general population or other
                appropriate unit of geographic analysis.…The selection of the
                appropriate unit of geographic analysis may be a governing
                body’s jurisdiction, a neighborhood census tract, or other
                similar unit that is to be chosen so as to not artificially dilute or
                inflate the minority population.

 Id., Appendix A at 25–26.
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        In defining environmental justice communities, the FHWA began with the same

 28-county catchment area described in the Air Quality section above. DOT_0036959.

 Next, it identified census tracts with minority or low-income populations within the

 28-county area. The FHWA then examined those tracts for whether at least 50% of the

 tract’s population identified as minority or whether the percentage identifying as minority

 was greater than the share of minority population in the county in which the tract was

 located. See DOT_0001292; DOT_0007250; DOT_0036961. For those tracts with a low-

 income population, the FHWA compared the percentage of low-income population

 (defined by the FHWA and Project Sponsors as twice the Federal poverty threshold) in a

 tract to the percentage of the low-income population throughout the entire 28-county

 region. DOT_0006974; DOT_0006980; DOT_0007250–51; DOT_0036961.

        From that baseline, the FHWA evaluated the local effects on the identified

 environmental justice populations. To do so, the FHWA reduced the 28-county catchment

 area down to 10 counties, namely the five New York City counties and the five adjacent

 counties with the greatest predicted change in traffic volumes and VMT (Bergen, Essex,

 Hudson, and Union Counties in New Jersey, plus Nassau County on Long Island). The

 FHWA reasoned that “[t]his local study area is the area where localized effects (such as

 changes in traffic volumes, air emissions, or noise) would occur as a result of the Project.”

 See DOT_0007250; DOT_0036958–59; DOT_0036962.

        As to air quality and chronic disease burden data, the FHWA relied on the EPA’s

 EJScreen tool and the Centers for Disease Control and Prevention’s (“CDC”)

 Environmental Justice Index (“EJI”). See DOT_0007249 n.1. The FHWA explained that,
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 while the EJScreen contained data at multiple levels—the block, block group, and tract

 level—the CDC and BPM data only drilled down to the larger tract level. Therefore, the

 FHWA determined that utilizing the two data streams required staying at the tract level,

 reasoning that this ensured comparability in those data streams. See DOT_0007263

 n.40. Based on this decision, the FHWA identified those EJ census tracts in the 10-county

 sub-region with pre-existing/cumulative pollutant burdens at or above the 80th percentile

 nationally or existing health/chronic disease burdens above the 66.66th percentile

 nationally. Then, the FHWA used a higher cutoff, at or above the 90th percentile, for

 either burden in combination with proximity to potential increased truck traffic to determine

 which EJ tracts (56 tracts including one in Orange, one in East Orange, and four in

 Newark, all in Essex County, and one in Fort Lee in Bergen County) could benefit from

 mitigation. In reaching its conclusion, the FHWA noted that the identified EJ tracts with

 potential truck traffic increases would be the same regardless of whether it used any of

 the aforementioned cutoff levels. See DOT_0003674–75 & n.39, DOT_0007318–20;

 DOT_0007324–25; DOT_0007439–40; DOT_0036993–95 & n.17.                    As for non-truck

 traffic, the FHWA conducted a similar analysis and found that 33 communities could have

 an increase in that type of traffic; however, all but 11 overlapped with the truck traffic

 increase communities. DOT_0036996.

                                     1. Data Collection

        Plaintiff raises several challenges to the FHWA’s EJ findings and conclusions. The

 first two focus on (1) the FHWA’s refusal to use a New Jersey mapping tool from the New

 Jersey Department of Environmental Protection (“NJDEP”) (the New Jersey
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 Environmental Justice Mapping, Assessment and Protection Tool (“NJ Mapping Tool”)),

 and (2) the FHWA’s failure to use New Jersey’s definition for communities with EJ

 concerns. See Pl.’s Mot. at 35–36; see also 1st Tr. at 231:2–233:14 (Plaintiff’s recitation

 of these arguments, acknowledging that “[they are] not the basis on which we are saying

 the whole thing should be thrown out.”).

        Plaintiff’s mapping tool challenge raises the question of methodological choice. 15

 To identify environmental justice communities, the “FHWA and the Project Sponsors

 considered USDOT and FHWA guidance, input from the community during early

 outreach, as well as the availability and granularity of data sources ‘to ensure that the

 approach reflects the local context for the Project and employs an appropriate

 methodological     approach.’”        Def.-Intervenors’    Cross-Mot.     at    38    (quoting

 DOT_0006974–79).        Defendant-Intervenors further explain that the “FHWA and the

 Project Sponsors also considered seven potential environmental justice screening tools

 to identify environmental justice communities, including EPA’s EJSCREEN tool, various

 New York State and City guidance and poverty metrics, and the New Jersey

 Environmental Justice Screen.” Id. there is NJ’s Mapping Tool, according to Plaintiff,




 15 Defendants initially argued that Plaintiff failed to raise this issue in its comments on the

 Draft EA, and therefore this mapping tool issue was waived. See Fed. Defs.’ Cross-Mot.
 at 32; Def.-Intervenors’ Reply at 18. However, the Government later conceded that the
 Governor of New Jersey did raise this issue in his letter of June 12, 2023 commenting on
 the Draft EA, and acknowledged that letter was foundational to the present lawsuit. See
 Fed. Defs.’ Reply at 13–14 (acknowledging June 12, 2023 letter, but maintaining
 insufficient notice); 2d Tr. at 135:11–137:11 (confirming agency reviewed June 12, 2023
 letter and refused to make changes based on substantive disagreement)). Accordingly,
 the court resolves this issue on the merits.
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 provides more precision in reflecting existing localized environmental and public health

 stressors by using more granular data from the census block group level rather than the

 census track data utilized by the FHWA. See Pl.’s Mot. at 35. Plaintiff’s preferred

 approach presents another equally supportable alternative that may well yield “a more

 refined analysis” because it “encompass[es] much smaller areas than census tracts.”

 Pl.’s Resp. at 26. Nevertheless, that result in and of itself is not a sufficient basis for the

 court to declare the agency’s methodological choice to be arbitrary. As noted earlier,

 methodological choice is committed to the agency’s discretion, and a court is to defer to

 that choice so long as it reflects rational decision-making and is adequately explained.

 See Fed. Energy Reg. Comm’n, 867 F.3d at 1367–68 (emphasizing that courts applying

 NEPA “should not ‘flyspeck’ an agency's environmental analysis, looking for any

 deficiency no matter how minor;” instead, courts only look to confirm that agency’s

 analysis is “reasonable and adequately explained,” noting that the agency's “choice

 among reasonable analytical methodologies is entitled to deference.” (internal citations

 omitted))).

        The FHWA relied on U.S. census data pursuant to the CEQ’s Guidance manual

 for identifying environmental justice communities.       See DOT_0006968–69.          Federal

 Defendants also point out that the FHWA’s decision to use census tract data, as opposed

 to another source with more precise data, has recently been upheld as reasonable by the

 Third Circuit. See Fed. Defs.’ Reply at 14 (citing Trenton Threatened Skies, Inc. v. F.A.A.,

 90 F.4th 122, 139 (3d Cir. 2024) (“The FAA’s decision to use census tract data,

 corroborated by the EPA’s modeling tool, was reasonable.”)). The FHWA’s explanation
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 appears rational in light of the goal of utilizing consistent and reliable data. Accordingly,

 the court will sustain the FHWA’s decision not to use the NJ Mapping Tool.

        As for the definition of communities with EJ concerns, the dispute between the

 parties is again one of methodological choice. In reaching its definition, the “FHWA

 identified environmental justice populations using U.S. Census Bureau data, applied

 against the definitions in USDOT Order 5610.C and FHWA Order 6640.23A.” Fed. Defs.’

 Cross-Mot. at 18 n.18 (citing DOT_0036956; DOT_0036961; DOT_0036965 (identifying

 relevant New Jersey census tracts); DOT_0006971–74 (methodology); DOT_0006974

 (describing low-income threshold); DOT_0006979 (noting New Jersey income threshold

 in accordance)). To arrive at its definition, the FHWA considered a census tract to be

 minority “if at least 50% of the population identifies as minority or if the percentage

 identifying as minority exceeds the share of minority population in the county where the

 census tract is located.” DOT_0036961; DOT_0006969–81.

        Plaintiff maintains that its preferred definition was superior as it would include “any

 census block group in which: (1) at least 35 percent of all households qualify as low-

 income households; (2) at least 40 percent of residents identify as a racial minority or as

 members of a State-recognized tribal community; or (3) at least 40 percent of households

 have limited English proficiency.” Pl.’s Mot. at 35. Plaintiff maintains that its standard

 “encompasses a broader number of overburdened communities” and “would have

 identified additional communities with EJ concerns.” Pl.’s Resp. at 27 (internal citations

 omitted).
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        Resolution of the parties’ differing views is similar to that of the mapping tool issue.

 As noted above, Plaintiff’s desired definition may well yield a more precise analysis, but

 that in and of itself does not provide a basis to declare the agency’s methodological choice

 as arbitrary. Further, the agency’s selection among methodologies that may be equally

 supportable by the record does not make that selection arbitrary so long as it reflects

 rational decision-making and is adequately explained.          Fed. Energy Reg. Comm’n,

 867 F.3d at 1367–68.

        Here, the court agrees that the FHWA’s selection of its initial refence points

 appears to conform to the standard contained in the CEQ’s Guidance. See Fed. Defs.’

 Cross-Mot. at 33 (citing Guidance & DOT_0036961). The court further agrees that the

 FHWA’s choice also provides for a broader low-income definition by using twice the

 federal poverty level, which “better account[s] for the higher cost of living in the region.”

 Def.-Intervenors Cross-Mot. at 39 (citing DOT_0006974). Accordingly, the court will

 sustain the FHWA’s definition for communities with environmental justice concerns.

                                      2. Bergen County

        In arguing that the FHWA and Project Sponsors failed to adequately consider the

 impact of the Program on environmental justice communities, Plaintiff focuses in

 particular on Bergen County. See Pl.’s Mot at 36–37 (noting that “several communities

 with environmental justice concerns in Bergen County already rank above the 95th

 percentile in air toxics cancer risk, among other public health indicators … [and that under

 the Program] Bergen County will experience increases in every category of pollutant,

 including volatile organic compounds, nitrogen oxides, carbon monoxide, and carbon
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 dioxide equivalents”). Plaintiff highlights that Fort Lee (a borough of Bergen County)

 “illustrates the problem” as it has “pre-existing pollution and chronic disease burdens at

 the 90th percentile, including some of the highest levels of PM2.5 in all of New Jersey. Id.

 at 37 (citing DOT_0007348; DOT_0040855).             Despite the FHWA’s findings that

 environmental justice communities in and around Fort Lee would experience the “highest

 [annual average daily traffic (“AADT”)] in all scenarios,” Plaintiff decries the FHWA’s

 failure to expand its hot-spot pollution study to include this area.             Id. (citing

 DOT_0036859–61 & DOT_0036864).

        In response, Federal Defendants maintain that Plaintiff’s argument that “the Final

 EA ignored Bergen County is facially erroneous.” Fed. Defs.’ Cross-Mot. at 28. Rather,

 Federal Defendants emphasize that a multitude of analyses were performed at or around

 the George Washington Bridge given that it was one of “those sites that demonstrated

 the highest AADT and the highest increase in heavy-duty diesel trucks.” Id. (citing

 DOT_0036864 (noting preparation of highway screening analysis); DOT_0036404;

 DOT_0036470; and DOT_0036833 (internal quotation marks omitted)).

        With respect to Plaintiff’s arguments regarding Fort Lee, Federal Defendants point

 out that “the Final EA includes a highway segment analysis in Fort Lee, in lieu of the hot-

 spot analysis applicable to intersections.”       Fed. Defs.’ Cross-Mot. at 34 (citing

 DOT_0036984). The record confirms that “[t]o address concerns related to the potential

 effects on local air quality from those traffic diversions, the Project Sponsors conducted

 additional, more detailed analyses for four highway segments near environmental justice

 neighborhoods.”     DOT_0036984.       Plaintiff responds by arguing that the FHWA
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 “inexplicably failed to assess potential traffic impacts on non-highway roads, such as

 intersections near highway ramps, even though they may also experience traffic

 increases.” Pl.’s Resp. at 30. However, Plaintiff’s arguments reflect a shifting of the

 goalposts, moving from its criticism that the FHWA and Project Sponsors failed to expand

 the hot-spot analysis to Fort Lee and morphing into a more general complaint that there

 was insufficient attention paid to non-highway roads. Compare Pl.’s Mot. at 36–38, with

 Pl.’s Resp. at 29–30.

       Ultimately, Plaintiff’s arguments about the failures of the Final EA and FONSI with

 respect to Bergen County boil down to a call for more thorough and specified mitigation.

 See, e.g., Pl.’s Mot. at 38 (“The Final EA compounded these problems by neglecting to

 propose any place-based mitigation measures in affected New Jersey communities with

 environmental justice concerns—even though it did so for similarly situated communities

 in New York.”); Pl.’s Resp. at 6, 32 (criticizing FHWA’s commitment of $20 million in

 mitigation to the Bronx with no specified funding for Bergen County, despite findings that

 traffic increases would be greater in Bergen County).         Federal Defendants even

 acknowledge, that based on the findings in the Final EA, “place-based mitigation is

 available for several locations in New Jersey, depending on the tolling rate and structure

 that is ultimately adopted by the TBTA.”      See Fed. Defs.’ Cross-Mot. at 34 (citing

 DOT_0037016–20; DOT_0007319–20). Federal Defendants contend that the “specific

 regional and place-based mitigation measures under consideration” in the Final EA also

 address Plaintiff’s concerns, highlighting that the Final EA identified that “New Jersey
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 census tracts that may merit mitigation include locations in Orange, East Orange, Newark,

 and Fort Lee.” Id. (citing DOT_0007322–24; DOT_0007327; and DOT_0037030).

        Accordingly, while the court does not agree with Plaintiff’s arguments that the

 FHWA and Project Sponsors failed to take a “hard look” at impacts on New Jersey

 environmental justice communities in the Final EA and FONSI, for the reasons described

 in Section III.C of this Opinion, the court agrees with Plaintiff that the lack of specificity as

 to mitigation for some of these communities warrants further explanation, and if

 appropriate, reconsideration.

                      3. Impacts on Other New Jersey Communities

        Plaintiff next argues that “[t]he Final EA also inexplicably failed to address other

 communities in New Jersey with census tracts in the regional study area with preexisting

 pollution and chronic disease burdens.           These communities include, but are not

 necessarily limited to, Union City, East Newark, Harrison, Bayonne, Elizabeth, and Perth

 Amboy.” Pl.’s Mot. at 38 (citing DOT_0007359–64). Plaintiff contends that the “FHWA

 arbitrarily limited its analysis of traffic volume changes in communities with EJ concerns

 to four New Jersey counties (Bergen, Essex, Hudson, and Union).” Pl.’s Resp. at 28.

        Plaintiff takes issue with the FHWA’s decision to rely on a small “10-county study

 area to assess potential traffic volume increases in communities with EJ concerns, which

 included only four New Jersey counties,” instead of the 28-county study area that FHWA

 used to assess “increased costs (tolls), changes in trip time, and changes in transit

 conditions.” Id. While Defendant-Intervenors argue that this 10-county study area was

 based off of counties selected because they represented “where the greatest change in
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 traffic volumes/VMT are predicted to occur,” Plaintiff maintains that “nowhere does the

 EA explain the basis for this conclusion.” Id. (citing Def.-Intervenors’ Cross-Mot. at 37).

 Plaintiff contends that “the record indicates that these four counties do not include those

 predicted to have the greatest increases in traffic volumes/VMT. Instead, under Tolling

 Scenario A, Essex, Hudson, and Union Counties are predicted to experience the greatest

 decreases in VMT.” Id. at 29 (citing DOT_0036830). Given all of the above, Plaintiff

 urges the court to conclude that the “FHWA’s analysis of environmental impacts on New

 Jersey communities with environmental justice concerns was unacceptably ‘cursory,’ …

 [and that the FHWA’s] failure to take a hard look at these impacts runs afoul of the federal

 environmental justice commitments and fails to comply with the requirements of NEPA.”

 Pl.’s Mot. at 39.

         In response, Federal Defendants contend that Plaintiff is simply incorrect when it

 claims that the Final EA “failed to address” certain New Jersey communities like Union

 City.   See Fed. Defs.’ Cross-Mot at 34–35 (citing DOT_0036992–96).                 Federal

 Defendants provide further citations to the record demonstrating where the Final EA

 identified municipalities (including those in New Jersey) with pollutant and chronic disease

 burdens as well as how those impacts in those communities were considered and

 designated for potential mitigation.    Id. at 35 (citing DOT_0007250; DOT_0007253;

 DOT_0007269; DOT_0007282–83; DOT_0007287; DOT_0007320; and DOT_0007326).

 Given the above, the court agrees with Federal Defendants that Plaintiff’s arguments on

 this issue “are facially refuted by the extensive analysis in the Final EA.” Fed. Defs.’

 Cross-Mot. at 35. Accordingly, the court rejects Plaintiff’s argument that the FHWA did
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 not adequately assess impacts on other communities with environmental justice concerns

 in the regional study area.

                                        C. Mitigation

        Under 40 C.F.R. § 1501.6(c), agencies may issue a FONSI, but in reaching that

 finding the agency “shall state any enforceable mitigation requirements or commitments

 that will be undertaken to avoid significant impacts.” Here, the Final FONSI contains a

 lengthy description of the commitments undertaken. See DOT_0000370–91. To meet

 those requirements, the Project Sponsors committed to a $155 million package over five

 years to mitigate any significant adverse air quality and public health effects in

 environmental justice communities that face pre-existing burdens due to historic

 transportation and land use planning. The package contained $55 million for regional

 measures, including spending: (1) $30 million to reduce the overnight period toll to avoid

 and minimize overnight truck diversions into the 10-county EJ study area; 16 (2) $20 million

 to accelerate the replacement of approximately 500 older diesel trucks used in the area

 with newer electric, hybrid, or clean diesel vehicles; and (3) $5 million to expand

 NYCDOT’s off-hours delivery program, which facilitates deliveries at less congested

 times. See DOT_0000383 & DOT_0037018. The package also included $100 million in

 localized, place-based mitigation, such as aiding construction of electric truck charging

 stations, installing roadside vegetation to improve near-road air quality, renovating parks




 16 Defendant-Intervenors explained that a reduced overnight toll reduced the incentive to

 divert from the CBD into alternate routes. The $30 million is a reduction in anticipated toll
 revenue. See 1st Tr. at 156:6–157:12.
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 and greenspace, and installing air filtration units in schools near highways in those same

 environmental justice communities. See id. In light of these commitments, the Final EA

 concluded that the proposed Program would not have a significant adverse effect on

 environmental justice communities. See DOT_0036211–13.

       Plaintiff argues that the FHWA and Project Sponsors failed to consider or specify

 commitments to mitigation for New Jersey, despite specifying mitigation commitments for

 similar impacts in New York. See Pl.’s Mot. at 24–26, 36–38; Pl.’s Resp. at 31–34. The

 Government and Defendant-Intervenors respond by pointing to the $155 mitigation

 package already on the record. See Fed. Defs.’ Reply at 18–19; Def.-Intervenors’ Reply

 at 21–22.

       In the court’s view, Plaintiff’s contentions that the FHWA and Project Sponsors

 failed to provide specific mitigation commitments for New Jersey areas likely to suffer

 adverse effects are partially undercut by the regional mitigation commitments outlined in

 the Final EA and Final FONSI. However, Plaintiff raises some persuasive arguments that

 the FHWA appears to have acted in an arbitrary manner when it set specific place-based

 mitigation funding commitments for the Bronx but failed to do so with respect to New

 Jersey. See, e.g., Pl.’s Mot. at 24–26, 36–38; 1st Tr. at 88:19–89:25, 100:5–104:9,

 108:17–1116:14 (court’s discussion of issue with Plaintiff’s counsel); see also 1st Tr.

 at 146:10–149:22, 159:19–161:25, 164:15–165:17, 183:17–186:24, 187:16–190:22,

 191:9–192:6, 192:23–195:13 (court’s discussion of issue with counsel for Federal

 Defendants and Defendant-Intervenors).
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       Defendant-Intervenors explain that “[b]ecause the ‘specific census tracts that

 would experience increased or decreased traffic change slightly depending on the tolling

 scenario,’ once the final tolling structure is adopted, the Project Sponsors will determine

 the appropriate sites for place-based mitigation in consultation with an Environmental

 Justice Community Group to be established, relevant communities, elected officials, and

 local implementing agencies, to select optimal sites for place-based mitigation.”

 Def.-Intervenors’ Cross-Mot. at 42 (quoting DOT_0036994 (internal citation omitted)). As

 set forth in the Final EA’s Appendix 17D, the mitigation commitment was to be

 implemented through an “adaptive management approach … which will include

 monitoring the efficacy of mitigation, stakeholder consultation, and adjustments as

 warranted.” DOT_0007322. Federal Defendants also point out that certain New Jersey

 communities were specifically identified as potential recipients of place-based mitigation.

 See Fed. Defs.’ Cross-Mot. at 20 (noting that Orange, East Orange, Newark, and Fort

 Lee, New Jersey were identified as “‘communities that could have census tracts that merit

 place-based mitigation’” (quoting DOT_0037033)).

       While Plaintiff decries the lack of specificity as to relief for New Jersey in the

 mitigation described in the Final EA and FONSI, the FHWA’s and Project Sponsors’

 explanation as to the benefits of flexibility and the capability for ongoing adjustments

 generally strikes the court as sufficient to satisfy the standard of review. The court,

 however, notes that although the flexibility provided by an adaptive management

 approach provides a reasoned explanation for why specific details as to monetary

 amounts and program locations may not have been established at the outset, that
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 rationale does not explain why the FHWA and Project Sponsors determined they were

 able to set with precision monetary amounts dedicated to relief in New York while

 providing no minimum amounts for mitigation for potentially impacted areas in New

 Jersey. At oral argument, Defendants attempted to provide a basis in the record for the

 apparent disparate treatment that was afforded the Bronx as compared to areas in New

 Jersey entitled to mitigation. Counsel argued that representatives from the Bronx had

 prepared specific action steps in the EJTAG consultations that justified a discrete amount

 for mitigation funding while representatives for New Jersey had not. See, e.g., 1st Tr.

 at 159:18–161.25, 163:19–165:17; 187:18–188:7, 194:22–195:8 (conversation between

 court and counsel for Defendant-Intervenors regarding disparate treatment between

 Bronx and New Jersey as to mitigation); id. at 159:25–165:21 (counsel for

 Defendant-Intervenors explaining that Bronx representatives identified “specific

 measures” early in consultation process that justified concrete funding allocations unlike

 New Jersey); see also id. at 147:2–149:21 (court conversation with counsel for Federal

 Defendants resulting in counsel acknowledging its answers as to the court’s inquiries

 regarding distinct treatment of Bronx and Bergen County were weak and “hop[ing] to give

 [the court] a better [response] during rebuttal”).

        When pressed for where the agency provided an explanation of its approach in the

 record, Federal Defendants referred the court to Final EA Appendix 17D. See 1st Tr.

 at 189:14–190:20 (citing DOT_0007325). However, that document does not support the

 explanation that counsel provided at oral argument for this disparate treatment. See

 DOT_0007325 (describing high pre-existing burdens in the Bronx, explaining planned
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 place-based mitigation measures for the Bronx and elsewhere, noting specific project of

 replacing refrigeration units at Hunts Point but providing no explanation for why discrete

 mitigation commitments were made for some locations (i.e., the Bronx) but not others

 (i.e., New Jersey)). The cited document describes that:

               [C]ertain areas in the Bronx, notably Hunts Point and High
               Bridge, have many census tracts with high pre-existing
               burdens. Though the increase in traffic at some of these
               locations is more modest (e.g., along the Cross Bronx
               Expressway), when combined with the pre-existing burdens,
               it suggests a high priority for place-based mitigation
               measures. Other locations, particularly East Harlem, do not
               have a large number of tracts with pre-existing pollutant or
               chronic disease burdens, but do have a larger increase in
               truck traffic and therefore also merit place-based mitigation
               measures. Locations with neither high pre-existing burdens,
               nor large increases in truck traffic, that may experience
               adverse effects from Project-related diversions will be
               addressed more broadly through regional mitigation
               described earlier.

 Id. The document further provides that “[p]lace-based mitigation measures that will

 provide direct emissions reductions and air quality improvements, and will address some

 of the pre-existing health burdens that are identified in Table 17D-18.”          Id.   This

 explanation, while relevant for detailing why certain areas in the Bronx merited mitigation,

 provides no insight as to why areas in New Jersey with similarly high pre-existing burdens

 did not receive place-based mitigation commitments.               See DOT_0007326–27

 (Table 17D-17, identifying tracts with pre-existing pollutant and chronic disease burdens

 in various counties including Bronx, NY, Essex, NJ, and Bergen, NJ; and Table 17D-18,

 identifying “Place-Based Mitigation Commitments” with specified funding to the Bronx but

 no New Jersey counties). It certainly does not provide a “justification for the difference
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 for the … approval of the mitigation project in the Bronx as opposed to [New Jersey].” 1st

 Tr. at 189:19–191:5 (Federal Defendants maintaining that DOT_0007325 provides

 justification for differing mitigation commitments of New Jersey versus Bronx).

        Critically, the court is left only with the post-hoc rationalizations of counsel for

 Defendant-Intervenors for this apparent disparate treatment. Without more, the court

 must conclude that the FHWA and Project Sponsors acted in an arbitrary and capricious

 manner in reaching their mitigation determination in the Final EA and FONSI. 17 See

 Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168–69 (1962) (“The courts

 may not accept ... counsel’s post hoc rationalizations for agency action ... an agency’s

 discretionary order [must] be upheld, if at all, on the same basis articulated in the order



 17 Notably, the court ordered supplementation of the record to include developments

 subsequent to oral argument to allow the Government to demonstrate that this apparent
 arbitrary treatment had been resolved, perhaps by application of the adaptive
 management approach. Indeed, in the June 2024 Re-Evaluation it appears that some
 specific monetary figures have finally been allocated for mitigation in New Jersey
 counties. Compare DOT_0037018 (Table of “Regional and Place-Based Mitigation
 Measures” in Final EA failing to specify any funding amounts for NJ counties, despite
 allocating $15M for “Replacement of Transport Refrigeration Units (TRUs) at Hunts Point
 Produce Market” and another $20M to “Establish Asthma Case Management Program
 and Bronx Center”), with DOT_0045609 (Table of “Place-Based Mitigation Measures
 Funding Allocation” specifying $1.4M for Fort Lee, $0.9M for City of Orange, $1.8M for
 East Orange, and $5.7M for Newark, for a total of $9.8M in specified committed funding
 to NJ counties in June 2024 Re-Evaluation). However, given that Federal Defendants
 “do not concede that consideration of this supplemental record is appropriate at this time,”
 the court defers to the Federal Defendants’ concerns and no part of this Opinion depends
 on any information contained in that supplemental record. See Supplement to the
 Record, ECF No. 186 (notice that Federal Defendants “do not concede that the
 supplemental record is properly before the court”). Instead, the entirety of this Opinion,
 including the remand for further explanation and potential reconsideration as to the issue
 of mitigation, is founded on consideration of the record at the time of the issuance of the
 Final EA and FONSI. The FHWA and Project Sponsors will be permitted to address these
 post-record developments in the first instance on remand.
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 by the agency itself.”); SEC v. Chenery Corp., 332 U.S. 194, 196 (1947) (“[A] reviewing

 court, in dealing with a determination or judgment which an administrative agency alone

 is authorized to make, must judge the propriety of such action solely by the grounds

 invoked by the agency.”).

       Ultimately, the court concludes the Final EA and FONSI fail to provide a rational

 connection between the general mitigation commitments outlined and the specific

 resolution of any and all significant impacts that may result from the Program, whether

 those impacts are in New York or New Jersey. See 40 C.F.R. § 1501.6(c) (“If the agency

 finds no significant impacts based on mitigation, the mitigated finding of no significant

 impact shall state any enforceable mitigation requirements or commitments that will be

 undertaken to avoid significant impacts.” (emphasis added)). Accordingly, the court will

 remand this issue for further explanation, and if appropriate, reconsideration of the

 rationale providing for differing levels of mitigation commitments for the Bronx as

 compared to potentially significantly affected areas in New Jersey and the ultimate

 mitigation determination.

                                     D. Alternatives

       NEPA provides that every recommendation or report regarding “major Federal

 actions significantly affecting the quality of the human environment” must include

 “a detailed statement” as to “alternatives to the proposed action.”      See 42 U.S.C.

 § 4332(C), (E). In the context of EAs, the applicable regulations require agencies to

 “[b]riefly discuss the purpose and need for the proposed action, alternatives as required

 by section 102(2)(E) of NEPA, and the environmental impacts of the proposed action and
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 alternatives, and include a listing of agencies and persons consulted.”            40 C.F.R.

 § 1501.5(c)(2).   An agency need not consider alternatives that do not advance the

 purpose of a project or are otherwise infeasible or impractical. See Concerned Citizens

 All., Inc. v. Slater, 176 F.3d 686, 706 (3d Cir. 1999) (“where the agency has examined a

 breadth of alternatives but has excluded from consideration alternatives that would not

 meet the goals of the project, the agency has satisfied NEPA”). Moreover, “agencies’

 ‘obligation to consider alternatives under an EA is a lesser one than under an EIS,’ and

 they may reject an alternative without detailed discussion if they considered the

 alternative and provided ‘an appropriate explanation as to why [it] was eliminated.’” Leigh

 v. Raby, No. 3:22-cv-00034-MMD-CLB, 2024 WL 1345297 at *12 (D. Nev. Mar. 28, 2024)

 (quoting Native Ecosystems Council v. U.S. Forest Serv., 428 F.3d 1233, 1246 (9th Cir.

 2005)).

        Here, Chapter 2 and Appendix 2 of the Final EA directly address these statutory

 and regulatory requirements.      See DOT_0036262–301; DOT_0004509–88; see also

 DOT_0036199–204. Specifically, the Final EA explains that “in light of the purpose, need,

 and objectives for this Project, the FHWA and Project Sponsors evaluated the

 12 preliminary alternatives described in Table 2-1,[18] which included multiple proposals

 for congestion management described in Chapter 2.3. DOT_0036263–64.



 18 Table 2-1 specifies the 12 alternatives considered by the FHWA, including NA-1—the

 No Action Alternative. The other 11 were non–toll pricing (NTP), toll (T), and other (O)
 alternatives. They were: (1) NTP-1—Parking pricing strategies, (2) T-1—Pricing on full
 roadways: Raise tolls or implement variable tolls on existing toll facilities, (3) T-2—Pricing
 on full roadways: Toll East and Harlem River bridges, (4) T-3—High-occupancy toll (HOT)
 (footnote continued)
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       The Final EA also states that the FHWA and Project Sponsors relied on three

 objectives to “screen” these preliminary alternatives and establish a set of “reasonable”

 alternatives for further consideration. DOT_0036266 (listing objectives of: (1) “Reduce

 daily vehicle-miles traveled (VMT) within the Manhattan CBD,” (2) “Reduce the number

 of vehicles entering the Manhattan CBD daily,” and (3) “Create a funding source for capital

 improvements and generate sufficient annual net revenues to fund $15 billion for capital

 projects for the MTA Capital Program”). Applying this screening method and relying on

 a variety of prior studies and documents ultimately resulted in the FHWA finding that “only

 Alternative T-4 (Zone-based pricing through the CBD Tolling Program) would meet the

 purpose for the Project and the screening criteria tied to the objectives.” DOT_0036266;

 DOT_0036268. The FHWA therefore concluded that “Alternative T-4 (Zone-based pricing

 through the CBD Tolling Program) is the only reasonable build alternative and the only

 build alternative evaluated in detail in this EA.” Id.; see also DOT_0036267–68 (Table 2-2

 providing “Results of Preliminary Alternatives Screening”).

       Plaintiff contends that the focus of the FHWA and Project Sponsors on generating

 revenue—Objective 3—did not justify the rejection of three congestion reduction

 alternatives. Pl.’s Mot. at 4. These rejected alternatives were tolling the East River and

 Harlem River bridges (Alternative T-2), rationing license plates (Alternative O-4), and




 lanes, (5) T-4—Zone-based pricing: CBD Tolling Program, (6) O-1—Parking pricing:
 Reduce government-issued parking permits, (7) O-2—Provide additional taxi stands to
 reduce cruising, (8) O-3—Create incentives for teleworking, (9) O-4—Ration license
 plates, (10) O-5—Mandatory carpooling, and (11) O-6—Truck time-of-day restrictions.
 See DOT_0036265.
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 mandatory carpooling (Alternative O-5). Id. at 45 (citing DOT_0036267). Plaintiff further

 argues that “[e]ven if [the] FHWA was entitled to deference in defining the purpose and

 need, its alternative analysis does not rise to the requisite ‘hard look’ standard and was

 woefully inadequate and arbitrary and capricious.” Pl.’s Resp. at 42.

        The Government and Defendant-Intervenors dispute Plaintiff’s suggestion that

 alternatives were not adequately considered, and instead maintain that the FHWA

 correctly considered all reasonable alternatives against the three objectives. They argue

 that revenue generation was a legitimate objective that reasonably justified the rejection

 of alternatives that were not economically feasible. See Fed. Defs.’ Cross-Mot. at 36

 (“FHWA . . . had no obligation to further consider those alternatives resulting in less

 revenue because the range of alternatives that must be considered by an agency is

 ‘bounded by some notion of feasibility.’” (relying on Vt. Yankee Nuclear Power Corp. v.

 Nat. Res. Def. Council, 435 U.S. 519, 551 (1978) and lower court cases));

 Def.-Intervenors’ Cross-Mot. at 24–25 (citing 40 C.F.R. §§ 1501.5(c) & 1508.1(z)).

 Additionally, the Government maintains that “although the State [of New Jersey] raises the

 specter of legislative limitations on consideration of [other] alternatives, [the] FHWA hardly

 rubber-stamped the Project Sponsors’ purpose and need definition.” Fed. Defs.’ Reply

 at 22 (citing DOT_0039214–19).

        Plaintiff also contends that the FHWA was required to (and failed to) provide an

 independent evaluation of all alternatives under NEPA. Pl.’s Resp. at 42–43 (relying on

 Idaho Conservation League v. Lannom, 200 F. Supp. 3d 1077, 1091 (D. Idaho 2016),

 amended, 2017 WL 242474 (D. Idaho Jan. 18, 2017)).              The court agrees with the
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 Government and Defendant-Intervenors that Idaho Conservation League expressly notes

 that the agency need only consider reasonable alternatives. See Idaho Conservation

 League, 200 F. Supp. 3d at 1091 (“The [EIS] need not consider an infinite range of

 alternatives, only reasonable or feasible ones.”). As explained in the Final EA, the FHWA

 and Project Sponsors considered a wide range of possibilities and used historic findings

 to inform its decision-making.    See, e.g., DOT_0036197–205 (Final EA executive

 summary detailing alternatives considered, as well as project purpose, need and

 objectives). Given this, the court cannot agree with Plaintiff that the FHWA failed to

 consider a reasonable range of alternatives as required under NEPA, undertake an

 independent “hard look,” and provide a “reasoned agency decision.”

       Plaintiff next argues that the FHWA unreasonably relied on “outdated studies

 (i.e., from 2008), and ‘concepts’ from stakeholders who have an incentive to ensure [that

 the] MTA meets its revenue goals.” Pl.’s Resp. at 43 (relying on American Rivers & Ala.

 Rivers All. v. FERC, 895 F.3d 32, 50–51 (D.C. Cir. 2018)). However, Plaintiff fails to

 provide little more than conclusory statements that the FHWA and Project Sponsors’ use

 of prior studies and legislative purposes reflected a lack of reasoned decision–making.

 Further, as Federal Defendants make clear, courts have upheld an agency’s decisions

 not to consider alternatives that have been rejected in prior studies. See Fed. Defs.’

 Reply at 24 n.14 (quoting HonoluluTraffic.com v. Fed. Transit Admin., 742 F.3d 1222,

 1231 (9th Cir. 2014) for proposition that “an agency does not violate NEPA by refusing to

 discuss alternatives already rejected in prior state studies”).    Accordingly, Plaintiff’s

 argument is unpersuasive.
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         Plaintiff’s reliance on American Rivers is misplaced. The cited portion of the

 decision did not involve the agency’s failure to consider adequately whether the chosen

 alternative was the correct one.      Rather, the court there raised concerns that the

 undisputed information in the record indicated that there would be a large number of fish

 deaths from the project under consideration. Accordingly, that court concluded that the

 agency could not reasonably ignore such a potential “significant” impact of the chosen

 alternative by relying on decades-old studies of varying relevance and reliability. See

 Am. Rivers & Ala. Rivers All., 895 F.3d at 51. Therefore, in this Court’s view, Plaintiff’s

 argument regarding prior studies lacks merit.

         Lastly, Plaintiff focuses on a specific alternative, Alternative T-2, providing for

 tolling of the currently un-tolled East River and Harlem River bridges, arguing that the

 FHWA should have chosen that alternative in place of Alternative T-4. Pl.’s Resp.

 at 43-45. Plaintiff highlights that Alternative T-2 “was rejected because it would not meet

 [the] MTA’s revenue threshold even though it would have reduced congestion and ‘could’

 generate comparable revenue.” Id. at 43–44. The explanation in the Final EA provided

 that:

               For T-2: Earlier studies showed this alternative would reduce
               congestion and could raise toll revenues equivalent to Project
               objectives. However, there is no law or agreement in place
               between the City of New York and MTA that would direct the
               revenue to MTA to support the Capital Program. [In addition,
               the 2008 New York City Traffic Congestion Mitigation
               Commission Study identified a number of disadvantages
               to this alternative, including that this alternative would
               not address trips that start and end within Manhattan,
               such as trips beginning or ending on the Upper East Side
               and Upper West Side; and that this alternative would
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               adversely affect local trips between the South Bronx and
               Harlem/Washington Heights, which could result in a local
               adverse economic impact in two environmental justice
               communities.]

 DOT_0036268 (Table 2-2 n.4). Plaintiff contends that this conclusion is unsupported by

 the record and relevant case law, arguing that the mere requirement that additional

 legislation may be needed is not a sufficient justification to conclude that this alternative

 is not “reasonable.” See Pl.’s Resp. at 44 (citing Nat. Res. Def. Council v. Morton,

 458 F.2d 827, 837 (D.C. Cir. 1972) and Env’t Def. Fund, Inc. v. Froehlke, 473 F.2d 346,

 351 (8th Cir. 1972)).     Plaintiff further argues that the potential adverse effect of

 Alternative T-2 on two environmental justice communities is analogous to the adverse

 effect in the Bronx of the chosen Alternative T-4 and for which the Project Sponsors have

 already committed mitigation funds. Id. at 44–45.

         Federal Defendants highlight that, in its response to comments, the FHWA during

 the underlying administrative process directly addressed and refuted similar arguments

 to those raised by Plaintiff regarding Alternative T-2. Specifically, the FHWA explained

 that:

               In Alternative T-2, the tolling of currently free crossings plus
               the lack of a Manhattan CBD toll would be expected to have
               additional diversionary effects. In order to reach revenue
               needs without tolling all entry points to the CBD, toll rates
               would have to be even higher than the highest toll rates
               studied in the EA. Therefore, Alternative T-2 would cause not
               only diversions but burden low-income drivers, in comparison
               to the CBD Tolling Alternative. Therefore, Alternative T-2
               would neither be reasonable nor designed to reduce adverse
               effects and need not be advanced for further analysis. Finally,
               Alternative T-2 is not contemplated by existing law and would
               require State legislation and/or complex agreements between
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              the State and City to allow toll revenues to be used for transit
              improvements.

 Fed. Defs.’ Reply at 23 (quoting DOT_0007943).

       Plaintiff makes a facially appealing argument regarding Alternative T-2 as

 compared to Alternative T-4. It does appear that Alternative T-2—tolling the currently

 un-tolled East River and Harlem River bridges—could meet the revenue projection goal

 of Objective 3 of the Project in an equivalent amount to that of Alternative T-4. See

 DOT_0036267–68 (Table 2-2 & n.4). In Plaintiff’s view, it was arbitrary and capricious for

 the FHWA to select Alternative T-4 over Alternative T-2 when those alternatives were

 largely on equal footing. Pl.’s Resp. at 43–45. The court disagrees. In keeping with the

 forgiving nature of the standard of review, an agency does not act arbitrarily or

 capriciously when choosing between viable alternatives, so long as the agency’s choice

 is supported by rational decision-making. See Louisiana Crawfish Producers Ass’n-W. v.

 Rowan, 463 F.3d 352, 357 (5th Cir. 2006) (quoting Mississippi River Basin All. v.

 Westphal, 230 F.3d 170, 177 (5th Cir. 2000)); see also Twp. of Belleville v. Fed. Transit.

 Admin., 30 F. Supp. 2d 782, 798–99 (D.N.J. 1998) (“The concept of alternatives under

 NEPA, however, ‘must be bounded by some notion of feasibility’ and ‘common sense.’

 ‘NEPA’s requirement of a discussion of alternatives ... should be superintended according

 to a ‘rule of reason.’ Stated another way, ‘[t]he degree to which an existing alternative

 should be considered, or indeed whether an alternative should be considered at all, varies

 with existing circumstances.’ The ‘rule of reason necessarily governs which alternatives
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 the agency must discuss, and the extent to which it must discuss them.’” (internal

 citations omitted)).

        Further, while the parties do not dispute that Alternative T-2 includes a possible

 funding source, in the view of the FHWA and Project Sponsors, it presents several

 problems that make Alternative T-2 less desirable.               The Government and

 Defendant-Intervenors maintain that tolling the un-tolled East River and Harlem River

 bridges are under the control of the NYC DOT and not the Defendant-Intervenors, and

 therefore, would require authorizing state legislation and/or an agreement with the City of

 New York to be a viable source of funding for the Project.

        Because the administrative record supports the apparent equivalence on

 environmental impact of Alternatives T-2 and T-4, the court need not address the question

 of whether additional statutory authority or an agreement with the City would be required

 to toll the currently un-tolled East River and Harlem River bridges. In sum, the record

 does not support Plaintiff’s arguments that the FHWA and Project Sponsors failed to

 consider reasonable alternatives as required under NEPA. The court therefore concludes

 that the FHWA considered a range of alternatives, found that only one of those

 alternatives could meet the Project’s objectives, and explained its determination. The

 FHWA’s analysis of alternatives here went far beyond the required “brief” discussion for

 EAs pursuant to 40 C.F.R. § 1501.5(c)(2) and by the standard of review.

        Despite this conclusion, the court is not ready to sustain the consideration of

 alternatives in the Final EA. Given the subsequent developments in the structure of the

 Program, it appears that the FHWA’s and Program Sponsors’ reliance on Objective 3
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 (i.e., the funding objective) has diminished in relative importance in the ultimate decision-

 making for the Program. As the court has already directed supplementation of the record

 to include these subsequent developments, 19 the court shall allow the Project Sponsors

 and FHWA to directly address this issue in the first instance in the context of the whole

 record. See Supplement to the Record, ECF Nos. 186 & 187. As a remand is already in

 order on the issue of mitigation, the court will reserve judgment on Plaintiff’s challenge on

 the issue of alternatives.

                  E. Participation, Coordination, and Public Comment

        NEPA sets out requirements for interactions between the agency considering

 action and federal, state, and local agencies, as well as the public. Specifically, NEPA

 states that a federal entity, before making any detailed NEPA environmental statement,

 “shall consult with and obtain the comments of any Federal agency which has . . . special

 expertise.” 42 U.S.C. § 4332(C). Further, copies of any comments and views of any

 federal, state, or local agencies that are authorized to develop and enforce environmental

 standards are to be made available to the public as provided by Section 552 of the APA.

 Id.

        The CEQ’s NEPA implementing regulations address agency engagement with the

 public. For instance, the regulations require an agency, like the FHWA, to involve the

 public, state and local governments, and relevant agencies to the extent practicable in

 preparing EAs. See 40 C.F.R. § 1501.5(e). Further, for actions not requiring notice in




 19 See supra n. 16 (discussing court’s approach to the supplement to the record).
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 the Federal Register, an agency may choose to provide public notice in a variety of

 formats including publication in local newspapers and other local media, notice to

 community organizations, publication in newsletters, direct mailing, notice through

 electronic media, as well as public hearings or meetings. See id. §1506.6.

        Beyond the obligations set forth in the aforementioned regulations, the U.S. DOT

 has regulations that supplement the FHWA’s obligations regarding participation in a

 NEPA compliance review. The regulations require the FHWA to provide early notification

 to and solicit views from “other States . . . that may be significantly affected by the action

 or by any of the alternatives.”       See 23 C.F.R. § 771.111(e).        Further, 23 C.F.R.

 § 771.119(b) requires that the FHWA, in conducting an EA, must “begin consultation with

 interested agencies and others to advise them of the scope of the project” to determine

 its impact.

        Plaintiff argues that the FHWA failed to meet the requirements of the various

 applicable regulations. It also contends that, in contrast to the FHWA’s active consultation

 with New York’s counterparts, the FHWA knew that New Jersey’s environmental agency

 and its health agency did not receive notice of their ability to participate in the EA’s

 development. See Pl.’s Mot. at 40–41. As to New Jersey transportation agencies that

 did receive notice, Plaintiff acknowledges that there was some contact by the FHWA but

 maintains that contact was minimal at best. Id. at 40–42. Similarly, Plaintiff contends that

 the FHWA failed to provide adequate notice to those New Jersey communities affected

 by the Project, all of which have minority and low-income populations burdened with pre-

 existent pollutants and chronic diseases. See Pl’s. Resp. at 35–36. Lastly, Plaintiff
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 maintains that the FHWA insufficiently extended the period for the submission of

 comments on the Draft EA, and then failed to provide adequate responses to any

 comments. Pl.’s Mot. at 43; Pl’s Resp. at 35–36.

       Federal Defendants and Defendant-Intervenors maintain that the FHWA more

 than met its obligations for involvement and outreach.       See Fed. Defs.’ Cross-Mot.

 at 38-44 (detailing how “FHWA and the Project Sponsors provided an opportunity for

 public participation at every step in the process,” and highlighting specific opportunities

 for New Jersey agencies and the public to participate); Def.-Intervenors’ Cross-Mot.

 at 16–22 (further explaining the “ample opportunity” provided to New Jersey to participate

 in NEPA process). The court agrees. As to interacting with the public, the FHWA

 provided extensive opportunities for interaction across the 28-county regional study area.

 The Final EA, in Chapter 18, sets out in detail the various means of notice and interaction

 that occurred. DOT_0037042–065. It describes the public outreach tools that included

 the Project website, Project fact sheets in nine languages, social media including

 Facebook, Twitter, and Instagram, with targeting of low income and minority populations

 by zip code, as well as online and print advertising in English and non-English outlets.

 The print advertising specifically included the Bergen Record, the Jersey Journal/NJ.com,

 the Newark Star-Ledger/NJ.com, Times of Trenton, El Especialito (for Essex, Hudson,

 and Union Counties), and the Korean Bergen News. DOT_0037045–46. As part of this

 process, the FHWA and Project Sponsors also established two environmental justice

 working groups to promote more in-depth discussion about environmental justice

 issues—the EJTAG and the EJSWG. DOT_0037048. The FHWA and Project Sponsors
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 extended invitations to 37 groups to participate in the EJTAG, including the New Jersey

 Environmental Justice Alliance. DOT_0036217; DOT_0037037. EJSWG membership

 was open to nomination and to individuals who expressed interest. DOT_0036217.

 All 27 people nominated or who expressed interest in the EJSWG were invited to join the

 group. Id. The FHWA and Project Sponsors met with the EJTAG seven times and the

 EJSWG three times between 2021 and early 2023. DOT_0037048–49.

        The Final EA in Chapter 18 also describes the FHWA’s early use of webinars in

 2021, amounting to 19 in all, as part of its outreach effort to inform and educate the public.

 Five of the webinars targeted New Jersey audiences, but anyone could join any of them.

 Four of the 10 general webinars were more than two hours long, while seven

 environmental justice webinars were at least two hours long.          DOT_0037047. The

 webinars also made language interpretation services available. They were live streamed

 on YouTube and subsequently posted there for later on-demand viewing. All meetings

 included a public comment session and a digital Question & Answer function, which

 members of the public could use to ask questions and receive responses in real time.

 The meetings were held at different times of day and over multiple days to maximize

 participation. In total, over 1,000 people attended these outreach webinars, and nearly

 400 people made oral presentations. DOT_0037047–48.

        The Draft EA was made available for public viewing on the proposed Program’s

 website and at 62 repositories throughout the tri-state region, including 29 of them in New

 Jersey. DOT_0037056–61. The FHWA and Project Sponsors provided for a 30-day

 public comment period and extended it by 14 days, which ended on September 23, 2022,
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 during which anyone could submit written comments on the Draft EA. DOT_0037063.

 In late August 2022, the FHWA and Project Sponsors held six virtual public hearings on

 the Draft EA. DOT_0037062. These virtual hearings were conducted using Zoom, and

 later posted on YouTube, with information on how to submit comments via other means

 including the website, email, fax, telephone, and U.S. Postal Service during the comment

 period. All the hearings lasted a minimum of four hours. Over 1700 people attended,

 with over 500 offering oral comments. DOT_0036216–17; DOT_0037062.

       Turning to the adequacy of outreach as to New Jersey agencies, the record

 demonstrates that the FHWA invited New York State and City environmental agencies to

 participate but did not extend invitations to comparable New Jersey entities. The record

 shows that the FHWA, using its statutory and regulatory discretion, limited its invitations

 to become a participating agency to only New Jersey transportation-related entities. See

 DOT_0037042–43. In total, the FHWA and Project Sponsors invited 21 non-federal

 agencies from across the tri-state region to participate in the NEPA process; with five of

 those agencies having representatives from New Jersey.          The New Jersey entities

 included three state transportation agencies—the New Jersey Department of

 Transportation (“NJDOT”), New Jersey Transit (“NJ Transit”), and the New Jersey

 Turnpike Authority (“NJTA”)—and two regional transportation agencies—North Jersey

 Transportation Planning Authority (“NJTPA”) and the Port Authority of New York and New

 Jersey (“PANYNJ”).      See DOT_0037043.        The court notes that the New Jersey

 Governor’s Office and those invited New Jersey entities chose not reach out to other

 New Jersey state and local agencies to have those agencies seek participating agency
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 status with the FHWA. The court further observes that although the applicable NEPA

 regulations expressly allowed state and local agencies to request cooperating agency

 status, as provided by 40 C.F.R. § 1501.8(a), no request was made by New Jersey state

 or local entities.

        As part of their participation in the NEPA process, the New Jersey agencies that

 were invited had opportunities to provide input on multiple topics, including (1) the scope

 of the EA, (2) potential effects of the Project, (3) measures to mitigate potential adverse

 effects, and (4) issues identified by the public.        DOT_0037042.       New Jersey’s

 transportation agencies did attend agency meetings. For example, in mid-September

 2021, NJDOT, NJ Transit, NJTPA, and PANYNJ attended a meeting during which the

 FHWA and Project Sponsors presented information on the proposed tolling program and

 the NEPA process.      NJ Transit, NJTPA, and PANYNJ asked questions that were

 answered. See DOT_0037044; DOT_0041617–20. In early August 2022, the same

 agencies plus NJTA attended another regional agency meeting, where the FHWA and

 Project Sponsors provided an overview of the Draft EA. The FHWA and Project Sponsors

 sought input on the Draft EA before it was issued, but none was offered by any New

 Jersey agency. See DOT_0041634–38.

        The State of New Jersey submitted a two-page letter from Governor Murphy dated

 September 8, 2022 and subsequently a seven-page letter dated September 23, 2022,

 attaching comments from NJDOT, NJT, and NJTA. DOT_0007768; DOT_0007772–75.

 Neither NJDEP nor the New Jersey Department of Health submitted any comments. See

 Def.-Intervenors’ Cross-Mot. at 11.
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        After the formal close of the comment period, the FHWA and Project Sponsors

 continued to receive and consider new comments on the Draft EA up until the point of the

 issuance of the Final EA. They also held a regional agency meeting in mid-May 2023 to

 discuss the changes between the Draft and Final EA. NJDOT, NJ Transit, NJTPA, and

 PANYNJ attended. During the meeting, NJ Transit and NJDOT asked questions about

 next steps but did not raise any substantive concerns or submit any comments. See

 DOT_0043818–21.

        In sum, the court’s review of the record as a whole does not support Plaintiff’s

 position that the FHWA and Project Sponsors acted arbitrarily in their outreach to the

 public and relevant agencies. Given the extensive nature of this outreach, the FHWA and

 Project Sponsors more than met their obligations under the applicable statutory and

 regulatory schemes.

                                      F. Clean Air Act

        The CAA gives primary responsibility to the States for implementing air quality

 control within their individual borders. Under 42 U.S.C. § 7407(d)(1)(A), the governor of

 each state, using the NAAQS for any pollutant for which air quality criteria have been

 issued, submits to the EPA a list of all areas within a state that are non-attainment (areas

 that do not meet the national primary or secondary standard for a particular pollutant),

 attainment (meeting the standard), or unclassifiable based on available information. The

 primary NAAQS are those required to meet public health concerns, while secondary

 NAAQS are those required to meet public welfare concerns. See 42 U.S.C. § 7409(b)(1)

 & (2). The EPA then designates those areas accordingly, with any modifications that the
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 EPA might deem necessary. See id. § 7407(d)(1)(B). The EPA also can designate as

 an air quality control region any interstate area necessary for attainment or maintenance.

 See id. § 7407(c). As discussed above, the relevant NAAQS criteria pollutants are ozone,

 carbon monoxide, nitrogen dioxide, particles (“particulate matter”) with a diameter less

 than or equal to 10 micrometers (referred to as PM10), and particles with a diameter less

 than or equal to 2.5 micrometers (PM2.5). See id. § 7407(d)(4)–(6); see also 40 C.F.R.

 § 93.102(b)(1). Emissions of certain precursor pollutants are also covered. See 40

 C.F.R. § 93.102(b)(2).

       Under 42 U.S.C. § 7410(a), each state is to adopt and submit to the EPA a State

 Implementation Plan (“SIP”) specifying the manner in which the national primary and

 secondary ambient air quality standards will be achieved and maintained within each air

 quality control region of the state. Once the EPA approves a SIP, a federal agency (here

 the FHWA) may not approve a transportation plan, program, or project unless that plan,

 program, or project was found to in conform with “any applicable” SIP in effect. See

 42 U.S.C. §§ 7410(k), 7506(c)(1) & (2).

       Plaintiff contends that, while the FHWA conducted a conformity analysis with

 regard to the New York SIP, the CAA requires the FHWA to conduct a conformity analysis

 also as to New Jersey’s SIP. See Pl.’s Mot. at 48–50 (citing to 42 U.S.C. § 7506(c)).

 Plaintiff further maintains that the FHWA was on notice of the conformity issue pertaining

 to New Jersey because in September 2021, NYSDOT sent a letter to the FHWA

 requesting conformity approval for only the New York portions of four areas, three of

 which include parts of New Jersey: (1) the New York-Northern New Jersey-Long Island
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 NY-NJ-CT PM2.5 Maintenance Area; (2) the comparable region for Ozone non-attainment;

 and (3) the comparable area for carbon monoxide maintenance. Id. at 49 (citing to

 DOT_0039319). In Plaintiff’s view, the FHWA should have also checked the New Jersey

 portions but failed to do so. Id. at 48–50 (citing to DOT_0036867).

        Plaintiff, relying on 40 C.F.R. § 93.105(a)(2), also argues that the FHWA was

 required but failed to provide a reasonable opportunity to consult with New Jersey State

 and local environmental agencies, including NJDEP, before making its conformity

 decisions. Plaintiff contends that the FHWA has in the past required conformity analyses

 regarding both New York and New Jersey SIPs for similar tri-state projects, pointing to

 the Cross Harbor Freight Program EIS. See Pl.’s Mot. at 50 & n.47.

        The Government argues that Plaintiff waived its conformity arguments by not

 raising them during the formal comment period on the Draft EA, which included

 20 references to conformity.     See Fed. Defs.’ Cross Mot. at 45–46.         The Federal

 Defendants further maintain that Plaintiff never asked for a conformity analysis regarding

 the New Jersey SIP, nor did Plaintiff ask the FHWA to consult with New Jersey agencies

 before making a conformity determination. Id. 20



 20 Federal Defendants emphasize that, even if      Plaintiff’s argument is not waived, its
 reliance on 40 C.F.R.§ 93.150(b) was misplaced. That section did not obligate the FHWA
 to examine a specific project like the one here. That provision only applies to general
 federal actions. Transportation projects like this Project do not require analysis of any
 SIP. Those types of projects only require hot spot analysis for carbon monoxide, PM2.5
 and PM10, and the FHWA did that hot spot analysis. See Fed. Defs.’ Cross-Mot. at 45-46
 & n.36 (citing to 40 C.F.R. § 93.109(b), Table 1 and 40 C.F.R. § 93.116).
        As for consultation, Federal Defendants argue that Plaintiff’s reliance on 40 C.F.R.
 § 93.105(a)(2) is misplaced as it applies only to revisions of state SIPs, not to individual
 (footnote continued)
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        In reviewing the record, Plaintiff did not explicitly raise its concerns either in its

 September 27, 2022 submission (DOT_0007772–75) or its June 12, 2023 submission

 (DOT_0040844–58).          Neither set of New Jersey comments mentions the term

 “conformity” at all. The focus of both submissions was on NEPA compliance of the Draft

 EA, Final EA, and Draft FONSI and cannot be reasonably found to raise arguments as to

 SIP conformity under the Clean Air Act. Accordingly, the court concludes that Plaintiff

 waived its arguments regarding SIP conformity.

                                        IV. Conclusion

        For the reasons set forth above, the court grants in part and denies in part Plaintiff’s

 motion for summary judgment, and grants in part and denies in part Federal Defendants’

 and Defendant-Intervenors’ cross-motions for summary judgment.

        Accordingly, it is hereby:

        ORDERED that Plaintiff’s Motion for Summary Judgment is granted in part and

 denied in part; it is further

        ORDERED that Federal Defendants’ and Defendant-Intervenors’ Cross-Motions

 for Summary Judgment are granted in part and denied in part; it is further




 projects. Id. at 46. Defendant-Intervenors contend that the consultation provision does
 not apply to the FHWA but rather to metropolitan planning authorities and state
 departments of transportation. Defendant-Intervenors also highlight that in April 2023,
 NJ TPA, the entity responsible for transportation conformity in northern New Jersey,
 emailed MTA staff asking for information for inclusion in NJ TPA’s conformity analysis,
 and the MTA promptly provided the information. See Def.-Intervenors’ Cross-Mot. at 50
 & n.39 (citing DOT_0040570–71). Given that Plaintiff failed to raise the issue of
 conformity during the underlying administrative proceeding, the court does not reach the
 merits of these arguments.
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        ORDERED that this matter is remanded to the FHWA until January 17, 2025 for

 the FHWA to take actions in conformity with this Opinion; it is further

        ORDERED that Plaintiff shall file its comments on the Remand Results on or

 before January 29, 2025; it is further

        ORDERED that Federal Defendants and Defendant-Intervenors shall file their

 respective response comments on or before February 11, 2025; and it is further

        ORDERED that comments submitted by any party shall be no more than 15-pages

 in length, using 12-point font and 1” margins throughout.




                                          /s/ Leo M. Gordon
                                          Judge Leo M. Gordon,
                                          U.S. Court of International Trade
                                          (sitting by designation in the District of New Jersey)




 Dated: December 30, 2024
        Newark, New Jersey
